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 1 Law Office if Thomas J. Nolan, Inc.
   Thomas J. Nolan State Bar No. 66992
 2 500 So Lake Ave., Suite 546
   Pasadena, California, 91101
 3 tnolan@nolanlaw.com
   (818) 928-1115- Office
 4 (818) 928-1122- Facsimile
   (626) 818-4833- Mobile
 5

 6 Attorney for Victim
   Basquiat Venice Investment Group
 7

 8
                               UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10

11
                                                  Case No. CR 2:23 -cr-00169 -MEMF
12
     UNITED STATES OF AMERICA,                    VICTIM IMPACT STATEMENT OF
13                                                BASQUIAT VENICE INVESTMENT
                 Plaintiff,
                                                  GROUP; EXHIBITS AND
14
          vs.                                     DECLARATIONS OF
15                                                DR. AARON DEGROF AND MICHAEL
     MICHAEL BARZSMAN,
                                                  KLEIN IN SUPPORT
16
                 Defendant,
17                                                Date: August 18, 2023

18                                                Hon. Maame Ewusi-Mensan Frimpong

19
                                                  Courtroom: 8B- 8th Floor
20                                                Time: 10:00 am.

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                                   BVCG Victim Impact Statement
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 1
            Pierce O’Donnell, in his capacity as co-manager of the Basquiat Venice Collection
 2
     Group (“BVCG”), submits this Victim Impact Statement as authorized under the United States
 3 Department of Justice, Victim Notification Program (updated December 14, 2020.)

 4
             BVCG requests that the attached statement, supporting exhibits, and attached
 5
     Declarations of Dr.Aaron De Groft, Director and Chief Executive Officer of Orlando Museum
 6 of Art (“OMA”), and Michael Klein, a veteran art curator, gallerist, and author, who witnessed

 7 Jean Michel Basquiat paint in 1982. (1960-1988) (“Basquiat”). Basquiat was an American

 8 abstract neo-expressionist artist. Michael Klein has been familiar with Basquiat's paintings since

 9 around 2015. Mr. Klein has seen all the 25 Basquiat paintings, whose authenticity is at issue.
           BVRG respectfully requests that before sentencing defendant Michael Barksman,
10
   presently scheduled for August 18, 2023, at 10:00 am, the Court read and consider BVRG’s
11
   Victim Impact Statement, supporting exhibits, and declarations of Dr. DeGroff and Mr. Klein
12
   (attached in their entirety as Attachment “A”)
13          Neither Mr. O’Donnell nor any other representative of BVCG received notice of
14    Defendant’s Change of Plea hearing, conducted on May 26, 2023. Respectfully, the important

15    rights of BVCG should not be ignored simply because the other parties failed to comply with
      the required notice provisions of the United States Department of Justice, Victim Notification
16
      Program (as updated December 14., 2020). Mr. O’Donnell is submitting the attached Statement
17
      on behalf of BVCG.in order to furnish the Court with information relevant to the crimes
18
      committed by Defendant Michael Barzman and their impact on BVCG.
19
             August 12, 2023,
20

21
                                                   Respectfully,
22

23                                                 Thomas J. Nolan
24                                                 Law Office of Thomas J. Nolan, Inc

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                                     BVCG Victim Impact Statement
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 1
                            ATTACHMENT A
 2

 3

 4       Victim Impact Statement of Basquiat Venice Collection Group
 5

 6                                 Submitted by:
 7                        Pierce O’Donnell, Co-manager
 8                      Basquiat Venice Collection Group
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                              BVCG Victim Impact Statement
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                             NOTE ON SOURCES
      This Victim Impact Statement contains numerous supporting citations to
documents and other materials. These include government records such as the
Affidavit supporting the request for a search warrant, the Plea Agreement, the
Rule 11 plea transcript, sentencing memoranda, internet sources, a website
maintained by Basquiat Venice Collection Group, and witness statements and
declarations, among others. For those documents not readily obtainable with a
click on the citation, they are collected in an accompanying Compendium of
Exhibits which can be accessed at:
https://drive.google.com/file/d/1iHCf4wMhsUmgtnC7_8z92D_qZ51yaixl/view
      The Basquiat Venice Collection Group website can be found at
www.bvcg.org. The password is: JMB2023.
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 1                                           INTRODUCTION
 2             I am Pierce O’Donnell. I have been a member of the California State Bar since
 3 1978. I am a trial lawyer with the Los Angeles law firm of Greenberg Glusker Fields

 4 Claman & Machtinger. My curriculum vitae can be found at:

 5 https://www.greenbergglusker.com/pierce-odonnell/

 6             I am the co-manager of the Basquiat Venice Collection Group (“BVCG”).
 7 BVCG is a California joint venture that owns six paintings attributed to the iconic

 8 American painter Jean-Michel Basquiat (“six BVCG Basquiats” or “six paintings” or

 9 “our paintings”). As discussed in more detail below, our paintings have a strong

10 provenance, have been authenticated by numerous Basquiat art experts, and have

11 been appraised as a collection for a value of $25 million. See Appraisal Report, dated

12 September 17, 2020 (Exhibit 1) These six paintings can be seen in Exhibit 1 and

13 www.bvcg.org.1

14             This Victim Impact Statement (“Statement”) is authorized under the United
15 States Department of Justice, Victim Notification Program (updated December 14,

16 2020). I am submitting this Statement on behalf of BVCG in order to furnish the

17 Court with information relevant to the crimes committed by Defendant Michael

18 Barzman and their impact on BVCG, including:

19             (1)    Under any version of Barzman’s false statements under oath discussed
20 below, BVCG and its six paintings are clearly victims of his crimes.

21             (2)    Barzman’s Plea Agreement, filed April 11, 2023 (Dkt. 24), significantly
22 minimizes the seriousness, and catastrophic consequences, of his brazen offenses.

23             (3)    As demonstrated more fully below, Barzman has made false, misleading,
24 and perjurious statements to Your Honor in his Plea Agreement, dated April 4, 2023

25 (Dkt 24), and his Rule 11 guilty plea proceeding on May 26, 2023 (“false statements

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     1
         T)here are seven images because one painting has Images on both sides.
                                                        4
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 1 under oath”).

 2         (4)     As co-manager of BVCG and identified in FBI Agent Elizabeth Rivas’
 3 Search Warrant Affidavit (Exhibit 2) as someone making allegedly fraudulent

 4 representations about the Mumford Basquiats provenance, I suffered the compounded

 5 injury of being prominently associated with fake art, my reputation was adversely

 6 affected, and my job was put at risk. In addition, the value of our paintings—once

 7 appraised at $25 million before Barzman’s treachery—was totally trashed.

 8         (5)     Barzman’s false statements under oath have directly and prejudicially
 9 impacted our six BVCG Basquiats.

10         (6)     Barzman’s unsubstantiated claim that our paintings are among a series of
11 fakes—because a friend (an unnamed “J.F”)2 and he supposedly painted them along

12 with 19 other paintings attributed to Basquiat (“19 Basquiats”)3 (collectively, “25

13 Basquiats”)—is preposterous. Neither he nor the government has presented any

14 evidence corroborating Barzman’s claim that he and his doorman friend painted each

15 of the alleged Basquiat forgeries in 5 to 30 minutes. No expert has been proffered by

16 Barzman or the government attesting to such wild claims. More importantly, the

17 mysterious J.F has failed to corroborate Barzman’s assertions. As demonstrated

18 below, this Victim Impact Statement references summaries of expert opinions

19 debunking Barzman’s claims that that he and J.F. devoted between 5 and 30 minutes

20 creating each of the forged Basquiat paintings and aged them 30 years by exposing

21 them to the sun.

22         For all of these and other reasons discussed below, I respectfully submit that
23 the interests of justice and the rights afforded crime victims like BVCG warrant

24

25
   2
     We know J.F.’s true identity. Because the government chose to hide his name and would not
26 disclose it to us for unknown reasons, we will keep his identity a secret for now. As shown below,
   however, the identity of J.F. is highly relevant here and will be furnished to the Court at the
27 appropriate time. An important issue before the Court is why has J.F.—who is a central character in
   Barzman’s fraudulent scheme—has been spared criminal charges.
28 3As shown below, the 19 Basquiats have also been authenticated by numerous leading Basquiat
   authorities; they were appraised for $65 million.
                                                       5
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 1 deferring Barzman’s scheduled sentencing on August 18th and conducting a later

 2 evidentiary hearing where BVCG can present evidence disproving Barzman’s claim

 3 that our paintings are fake and proving that they are correctly attributed to Basquiat.

 4        As explained in more detail below, by falsely and publicly claiming that the 25
 5 Basquiats are fakes and enabling their seizure, Barzman has directly and proximately

 6 harmed BVCG by indelibly tarnishing them in the art world and thus rendering them

 7 worthless. Unless Barzman recants or is found to be lying, these paintings will

 8 forever be doomed as notorious forgeries. That is a crime that must be rectified for

 9 the reasons amplified in this Statement.

10        In enacting the Crime Victims Act, Congress mandated that federal crime
11 victims be given the “right to be reasonably heard at . . . sentencing.” 18 U.S.C. §

12 3771(a)(4). The evidence that BVCG will present is highly relevant to Barzman’s

13 sentencing because his false statements under oath bear on several material factors for

14 proper punishment determination, including the seriousness of the offenses,

15 aggravating circumstances, defendant’s untruthful characterization of his role in the

16 crimes, defendant’s insincere acceptance of responsibility, the impact of the crimes

17 on the victims and society, and the need to provide restitution to victims. See 18

18 U.S.C. § 3553; United States Sentencing Commission, “An Overview of Federal

19 Sentencing Guidelines,”

20 https://www.ussc.gov/sites/default/files/pdf/about/overview/Overview_Federal_Sente

21 ncing_Guidelines.pdf The mandate that victims voices be heard would be hollow if

22 they are precluded from presenting evidence to substantiate their claims where, as

23 here, the issues are hotly contested.

24        I have set forth below a summary of the facts substantiating the truth about
25 Barzman’s false statements and his lies and the need for this Court to prevent a

26 miscarriage of justice. As requested above, the Court can right this wrong by
27 deferring Barzman’s sentencing and conducting an evidentiary hearing where BVCG

28 will be able to present evidence and cross-examine Barzman, J.F., and others. We are

                                               6
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 1 very grateful for the opportunity to present this information that we hope will lead the

 2 Court to conclude that BVCG is the victim of Barzman’s fraud on the Court and is

 3 deserving of relief in the form of an evidentiary hearing to disprove Barzman’s

 4 claims and establish the paintings’ authenticity.

 5                               EXECUTIVE SUMMARY
 6        Defendant Michael Barzman ‘s factual account of his crime as set forth in both
 7 his Plea Agreement and Rule 11 statements raise serious questions as to the

 8 truthfulness of his account of the breath of his criminal scheme. Barzman now

 9 asserts that he and a friend J.F. painted the 25 Basquiat paintings that the FBI seized

10 off the walls of the Orlando Museum of Art. He also earlier lied to the FBI in June

11 2022 when he told them that he did not sell paintings attributed to Basquiat purchased

12 out of the storage locker of famed tv writer Thaddeus Q. Mumford, Jr. Barzman’s

13 flat denial during his June 2022 interview of his purchase of any Basquiat works from

14 the abandoned storage locker of a confirmed acquaintance of Basquiat furnished the

15 probable cause that the paintings’ owners were misrepresenting their provenance,

16 thereby directly leading to the issuance of the search warrant and paintings’ seizure.

17        Contrary to Barzman’s and the government’ s representations at the Change of
18 Plea Hearing, BVCG, as the owner of six of the Basquiat paintings, is indeed a victim

19 of Barzman’s crime. Yet, we were not provided notice of the May 26, 2023 hearing.

20 Barzman’s account of his criminal conduct raises serious questions as to the accuracy

21 of the record which this Court has been provided and upon which it is being asked to

22 make a sentencing determination. As described more fully below, Barzman’s actions

23 in this matter have had devastating, lasting consequences and warrant more serious

24 charges than a single count Information charging false statements to the FBI.

25        Desiring to set the record straight and furnish the government with significant
26 and persuasive evidence about Barzman’s lies, I insisted upon meeting with the FBI
27 and prosecutor. At the August 3, 2022 meeting, I furnished sales records, emails,

28 and payment documents showing that Barzman in fact sold the Basquiats to BVCG’s

                                               7
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 1 owners in late 2012 and represented that they came from Mumford’s storage unit. I

 2 also furnished the government with emails from Barzman to a buyer in Oslo, Norway

 3 offering him numerous paintings that he represented were sourced from Mumford.

 4 The photos attached revealed that 13 were our authentic Basquiats and nine were

 5 obvious fakes.

 6        There is no possible way that Barzman and his crony J.F. painted the 25
 7 Basquiats. Barzman was a storage locker scrounger and J.F was a nightclub bouncer

 8 who reportedly sells Christmas trees for a living. Neither has any known education,

 9 training, or experience as an artist—much less one of the talent who could paint

10 convincing Basquiat forgeries in 5 to 30 minutes as Barzman claims.

11        Further, it is conceivable that this duo mass produced the nine Oslo fakes in 5
12 to 30 minutes. They are so pathetically amateurish and do not even remotely

13 resemble authentic Basquiats. As two renowned Basquiat experts have declared, the

14 persons who painted these self-evident forgeries could not (and did not) paint our 25

15 paintings.

16        One notable example of Bazman’s inherent inability to tell a consistent story is
17 his contradictions about one of the most fundamental aspects of his crime—the

18 number of his fakes. Barzman is all over the place, furnishing the Court with no

19 fewer than five versions. In the Affidavit and his Plea Agreement, he says that the

20 number is nine, ten, 20, 20 to 30, and “most of” 25. His breathtaking failure to give

21 only one number (after all he supposedly created and sold them) is the nail in the

22 coffin of his credibility.

23        Not only does our evidence doom the Barzman fakes provenance claims, it
24 proves that the 25 paintings are brilliant works of Basquiat that Mumford purchased

25 and stored away. Among other things, Mumford told no fewer than six credible

26 persons between 2013 and 2017 that he befriended Basquiat in 1982, purchased
27 numerous cardboard paintings from him for $5,000, did not like them and therefore

28 stuck them in his storage locker—only to lose the paintings to auction when he was

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 1 for several years in arrears in paying his storage fees. What Mumford told each

 2 person is consistent and believable as we witness the poignant sadness of this

 3 accomplished man coming to painful grips with this loss in the last challenged years

 4 of his storied life.

 5         In a constellation of illuminating evidence, the most brilliant is a Poem on
 6 which Mumford and Basquiat collaborated. Replete with meaningful

 7 autobiographical references and actually mentioning “25 paintings,” the Poem is

 8 initialed “JMB.” Two forensic handwriting experts have identified Basquiat as the

 9 person who penned “JMB.”

10         The most gripping provenance evidence comes from the literary superstar
11 Adriana Trigiani. A multiple New York Times bestselling author, television and film

12 writer, director and producer, she was a colleague and friend of Mumford in

13 Hollywood. When she asked him for some documentation that he bought the

14 paintings from Basquiat, he gave her the Poem. Trigiani has signed a statement

15 attesting to this fact.

16         The 25 Basquiats have been closely scrutinized by Basquiat experts. Every
17 one of them—six in all—found them to be authentic and among his finest paintings.

18 The have put their opinions in writing in the form of reports or essays in the

19 impressive Orlando Museum of Art exhibition catalogue entitled Heroes & Monsters.

20 I am unaware of any contrary written opinions about all 25 paintings by any reputable

21 Basquiat expert.

22         It is a glaring omission that neither Barzman nor the Government has provided
23 the Court with any expert opinion confirming that an untrained artist could produce

24 the forged Basquiat paintings and do so with only 5 to 30 minutes of effort per

25 painting. Nor has the Court been furnished any sworn statement from J.F attesting to

26 the fact that he participated with Barzman in the creation of the Basquiat forgeries.
27 Indeed, in the Plea Agreement, Barzman could not even identify which of the 25

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 1 Basquiat paintings on exhibit at the Orlando Museum of Art were in fact “painted” by

 2 him and his sidekick.

 3        This wealth of evidence summarized in this Victim Impact Statement
 4 demonstrates that Barzman is not telling the truth that the 25 Basquiats are

 5 counterfeits created by the doorman/Christmas tree vendor and him. When the

 6 fundamental issue of the nature, seriousness, and impact of the defendant’s crime is

 7 disputed, the right for a victim like BVCG to be reasonably heard necessarily requires

 8 the right to present evidence. Respectfully, the Court has ample authority (and

 9 reasons) to defer Barzman’s sentencing until an evidentiary hearing can be conducted

10 to determine the truth. This will be the only chance that BVCG will have to obtain

11 restitution of the legitimacy of its paintings. I urge Your Honor to allow us the

12 chance to prevent a serious injustice to the authenticity of the paintings that will

13 render them worthless.

14                      CHARGED AND UNCHARGED CRIMES
15        I need to set the stage here so the Court can understand the context in which
16 this Statement arises.

17        The Plea Agreement obligated Barzman to plead guilty to an Information
18 limited to one count of making selective false statements to the FBI on two separate

19 occasions, in violation of 18 U.S.C. § 1001(a) (2). Page 2 of Barzman’s Information

20 contains a paragraph styled, “Section B. ‘FALSE STATEMENTS’” and specifies

21 only false statements made by Barzman during FBI interviews conducted on “August

22 18 and October 13, 2022.” Barzman’s lies were his denial of any knowledge about

23 origins of the paintings, including emanating from Mumford’s storage unit. The

24 Information (p. 2) alleges that these false statements were made “for the purpose of

25 influencing an FBI investigation in the Central District of California, knowing that

26 these statements were untrue.”
27        But we know that these were not Barzman’s only false statements. The August
28 18th and October 13th false statements were preceded by false statements in his first

                                               10
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 1 FBI interview on June 14, 2022 as part of the government’s longstanding

 2 investigation of the paintings. See Exhibit 2 (FBI Affidavit). In fact, the Plea

 3 Agreement (at page 9, lines 11 through page 10, line 15) explicitly chronicles the

 4 substance of Barzman June 14th false statements in which he first denied any

 5 knowledge of paintings from Mumford’s locker.

 6        Now what is the significance of this? What the Court was not told is that the
 7 government used Barzman’s first lies on June 14th as the cornerstone for FBI Agent

 8 Elizabeth Rivas’ June 23, 2022 Affidavit in Support of An Application Under Rule

 9 41 For A Warrant To Search and Seize (Exhibit 2). Agent Rivas pointed to

10 Barzman’s denials to establish probable cause that the paintings’ owners were

11 misrepresenting the paintings’ provenance as originating in Mumford’s locker. And

12 this was the warrant authorizing the seizure of the 25 paintings off the OMA’s walls a

13 mere week before the exhibition was closing. But for Barzman’s June 14th lies, no

14 search warrant could have been issued.

15        At the evidentiary hearing, we want to explore why Barzman was not charged
16 with lying to the FBI on June 14th when (as discussed below) the government had in

17 its possession by the time of the Plea Agreement in March of this year extensive

18 documentation furnished by me in August 2022 showing that Barzman in fact

19 purchased the paintings from Mumford’s storage unit and sold them to BVCG’s

20 owners. While the government has discretion in making charging decisions, it does

21 not have the right to suppress information bearing on the lack of probable cause and

22 the ruinous consequences of the resulting seizure of the 25 Basquiats. This egregious

23 fact alone demonstrates how much BVCG has been victimized by Barzman.

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 1                                    BACKGROUND FACTS4
 2          Jean-Michel Basquiat (1960-1988) was an American abstract neo-expressionist
 3 artist whose all-too-brief career catapulted him to international acclaim. In his

 4 lifetime, he created several thousand paintings and drawings using various media and

 5 substrates (canvas, paper, wood, cardboard, walls, doors, refrigerators, football

 6 helmets, and others). At the time of his death, his paintings were routinely praised

 7 and in high demand. Basquiat changed the art world.

 8 https://www.madridacademyofart.com/blog/jean-michel-basquiat

 9          Since his death, Basquiat’s paintings have skyrocketed in value. In private
10 sales and at auction, his works have garnered impressive prices. In 2017, an untitled

11 painting from 19825 sold for $110.5 million. https://www.myartbroker.com/artist-

12 jean-michel-basquiat/record-prices/jean-michel-basquiat-record-prices His works on

13 cardboard have also sold for a great deal of money—one from 1982 selling for

14 $8,647,500. See Krieger, Basquiat’s Historic Use of Cardboard (www.bvcg.com)

15 (“Krieger”)6

16          Basquiat liked Los Angeles and visited the city several times.
17 https://www.latimes.com/archives/la-xpm-2005-mar-13-ca-basquiat13-story.html He

18 made at least two trips here in 1982. Following a sell-out exhibition in early 1982, he

19 returned to begin painting for another exhibition set for early 1983. Basquiat was

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   4
     The information in this section can be found in numerous public internet references and
22 particularly in a report prepared for BVCG by Dr. Jordana Moore Saggese, dated November 30,
   2017 (Dr. Saggese Report). www.bvcg.org. As discussed below, Dr. Saggese is the leading
23 academic scholar on the works of Basquiat. In her report, after personal examination of the works
   and extensive research, she found that the six BVCG paintings were by Basquiat’s hand and could
24 be attributed to him.
   5
     The 25 Basquiats here were also painted in 1982, a year of extraordinary creativity during which he
25 is considered to have produced his best works. See, e.g., Alexxa Gotthardt, “What Makes 1982
   Basquiat’s Most Valuable Year,” Artsy (April 1, 2018) https://www.artsy.net/article/artsy-editorial-
26 1982-basquiats-valuable-year
   6
     Like other famous artists before him (Picasso, Miro, Vuillard, Toulouse-Lautrec and Degas),
27 Basquiat used cardboard as a substrate for his paintings. See Krieger, op. cit. The use of cardboard
   does not necessarily devalue a painting. Munch’s famous The Scream is painted on cardboard—it
28 sold at auction in 2012 for $120 million. https://www.nytimes.com/2012/05/03/arts/design/the-
   scream-sells-for-nearly-120-million-at-sothebys-auction.html
                                                     12
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 1 fond of partying and was a drug user. Despite some limited financial success, he was

 2 always in need of money to support his night life.

 3 https://civilianreader.com/2016/05/10/excerpt-basquiat-a-quick-killing-in-art-by-

 4 phoebe-hoban-open-road-media/

 5          Thaddeus Q. Mumford, Jr. (1951-2018) was a celebrated television creative
 6 artist. A pioneer in many ways, he was the first African-American batboy for the

 7 New York Yankees. https://interviews.televisionacademy.com/news/from-yankees-

 8 batboy-to-roots-the-next-generations-thad-mumford-broke-new-ground Winner of an

 9 Emmy (out of an impressive five nominations), Mumford was one of the most

10 acclaimed and sought after writers of comedy and drama. His credits include writing

11 and/or producing for M*A*S*H, The Cosby Show, Maude, Sesame Street, The

12 Electric Company, Saturday Night Live, Alf, Coach, Good Times, A Different World,

13 Home Improvement, The Duck Factory, and Roots: The Next Generation, among

14 others. https://www.imdb.com/name/nm0612588/ Mumford was also known as an

15 avid art collector. See Exhibit 5 (Statement of Adriana Trigliani)

16          This is where the story diverges. There are two competing scenarios involving
17 the 25 Basquiats.

18          *One version provides that in 1982, Basquiat was befriended by Mumford in
19 Los Angeles, and he gave him $5,000 in exchange for more than two dozen paintings

20 on cardboard and one on plywood.7 Not a fan of this type of art, Mumford put the

21 paintings in his Los Angeles storage locker where they remained until 2012 when

22 they were purchased by Mike Barzman, a local small-time auctioneer, after Mumford

23 ran up about $7,000 in unpaid storage fees. Barzman then sold the paintings to two

24 persons for about $15,000, and these purchasers assigned their ownership rights to

25 BVCG in 2017.

26
27   7
    While his paintings were starting to sell for decent prices in 1982, Basquiat was always strapped
   for money. The fact that Basquiat always needed cash for partying and drugs helps explain why he
28 circumvented his gallerists, and “he liked to be paid for works of art quickly in cash.” M. Franklin
   Sirmans, “Chronology,” in Basquiat, ex cat. (Basel, Switzerland: Beyeler Foundation, 2010), p. 48.
                                                      13
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 1         *The alternative story is that Mumford never knew, or purchased any paintings
 2 from, Basquiat; there were never any Basquiat paintings in Mumford’s storage

 3 locker; Barzman never purchased any art works out of Mumford’s storage unit; and

 4 anyone who is claiming that this is the provenance of the 25 paintings is not telling

 5 the truth. The recent wrinkle to this narrative is Barzman’s claim that not only did he

 6 not purchase any art from Mumford’s locker, but his pal J.F. and he in fact painted

 7 the 25 paintings. In short, all 25 paintings are fakes.8

 8         Which of these dueling narratives is the truth is the central question here.
 9         I respectfully submit that based on the overwhelming evidence summarized
10 below, the most credible scenario is the first one—Barzman bought the 25 Basquiat

11 paintings from Mumford’s locker and sold them to the two persons with the

12 representation that they were attributable to Basquait and sourced from the famous

13 television writer’s storage unit. Barzman and friend no more painted them than I did.

14 What they did do, however, was (1) manufacture numerous fakes and sell them to a

15 buyer in Oslo, Norway and (2) falsely claim that our authentic 25 Basquiats are

16 included in his body of fakes.9

17                                     FBI INVESTIGATION
18         In February 2022, the Orlando Museum of Art (“OMA”) opened an exhibition
19 entitled Heroes & Monsters featuring the 25 Basquiat paintings. The paintings’

20 owners lent them to OMA for no fee, and OMA paid for all shipping, insurance,

21 installation, catalogue preparation and printing along with other expenses for the

22 exhibition. An elaborate exhibition catalog—with essays by art historians, gallerists,

23 curators, and scholars praising the works as authentic Basquiat masterpieces—was

24

25
   8
     Curiously, Barzman, while stating that he forged and sold the paintings, did not cop a plea to
26 selling his forgeries to anyone in particular. So, we are left with this unexplained mystery: from
   whom did the purchasers acquire these 25 paintings if not Barzman?
27 9The most likely sequence of events here is that Barzman bought the 25 paintings from Mumford’s
   locker, sold all of them to BVCG’s owners, and decided to make more money by using the real
28 Mumford provenance to sell his additional,newly-minted fakes to the unsuspecting foreign buyer
   discussed below.
                                                      14
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 1 prepared. www.bvcg.org The show attracted thousands of visitors and set OMA

 2 attendance records.

 3        On June 24, 2022, a team of FBI agents seized the 25 Basquiat paintings off
 4 the OMA’s walls. The seizure was pursuant to a search warrant that was obtained by

 5 submission of an Affidavit by FBI agent Elizabeth Rivas, dated June 22, 2022 (“FBI

 6 Affidavit”) ( Exhibit 2). The FBI raid was covered by awaiting media, and the news

 7 spread like a prairie fire around the world in both the general and art-related media.

 8 See, e.g., https://www.nytimes.com/2022/06/24/arts/design/fbi-orlando-museum-

 9 basquiat.html; https://www.clickorlando.com/news/local/2022/06/24/fbi-raids-

10 orlando-museum-of-art-seizes-basquiat-art-exhibit-museum-

11 says/https://www.theartnewspaper.com/2022/06/27/fbi-raid-orlando-museum-art-

12 basquiat-paintings-authenticity The New York Times article did not mince words

13 about the dire implications of the FBI’s move:

14
          “An affidavit filed to secure the search warrant called the collection’s
15        origin story, as it had been described by its owners and the museum, into
          question, and noted that there was reason to doubt the authenticity of the
16        art works.”
17 https://www.nytimes.com/2022/06/24/arts/design/fbi-orlando-museum-basquiat.html

18        According to the FBI Affidavit, the agency had been investigating these 25
19 Basquiats since 2013. Exhibit 2, p. 13. Why the FBI waited a decade to seize them

20 has never been explained—especially since Mumford supposedly told them as early

21 as 2014 that these were not his paintings. Id., pp. 13-14. Indeed, the Affidavit

22 reveals that the agency did not interview key witnesses—including Barzman—until a

23 short time before the dramatic seizure.

24        The Affidavit’s stated premise for the justification for a search warrant was
25 serious doubts about the paintings’ provenance that drew into question their

26
27

28

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 1 authenticity. If the owners were lying about the origin of the works,10 that was

 2 probable cause to suspect a crime was being perpetrated and thus justified seizing the

 3 works. By a parity of reasoning, however, if that putative evidence of the owners

 4 lying was false, there should have been no seizure. So, what was the supposed

 5 evidence that led to this contention?

 6         None other than one Michael Barzman himself.
 7               BARZMAN USED TO JUSTIFY PAINTINGS’ SEIZURE
 8         The Affidavit states that the FBI interviewed Barzman on June 14, 2022,
 9 asking him point blank what he knew about the 25 paintings. He unequivocally

10 stated that he knew nothing about them, and when shown photos of the 25 paintings

11 in the OMA exhibition, he flatly denied ever seeing them before. Here are his exact

12 words.

13
           1.      “About ten years ago, [he] sold approximately 10 pieces of
14                 artwork to three individuals”—Lee Mangan, Taryn Burns, and
                   William Force. (Para. 32 (a)); see also para. (32 (g))
15
           2.      Years after the purchase, Mangan, Burns, and Force asked him “to
16                 say that the artwork was found in Mumford’s storage locker,
                   which [he] said was not true and he could never say.” (Para. 32(c))
17
           3.      “[Barzman] was shown a notarized statement he was alleged to
18                 have signed on February 13, 2013. [Barzman] said that he may
                   have signed the document, but the contents were not correct. He
19                 could never say from which particular locker/unit he acquired any
                   item because he bought things from so many different places.”
20                 (Para. 32 (d))
21         4.      “[Barzman] said at the time he may have signed a document
                   because he was new in the business and did not realize what they
22                 were doing.” (Para. 32 (e))
23         5.      “[Barzman] was shown images of 20 pieces attached to his
                   declaration and he did not recognize any of the artwork.” (Para. 32
24                 (g))
25

26
27
   10
      In several places, the Affidavit states that the owners of the 25 paintings were making false
28 representations about the paintings emanating from Mumford’s storage locker. See Exhibit 2, pp. 9-
   10, 16-18.
                                                        16
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 1          6.    “[Barzman] was shown images of the entire collection at OMA
                  and he did not recognize any of the artwork.” (Para. 32 (g))11
 2          On the strength of Barzman’s statements to the FBI disclaiming any knowledge
 3 about the 25 paintings, the Affidavit concluded that persons were attempting to sell

 4 them “using false provenance . . . .” Para. 5. , and the search warrant was obtained.

 5                   DEVASTING CONSEQUENCES OF THE SEIZURE
 6          With the avalanche of worldwide negative publicity12, the fallout from the raid
 7 was immediate, devastating, and widespread.

 8          *The owners’ reputations were impugned by their association with supposedly
 9 fake paintings on such a grand scale of not one or two, but 25, supposed Basquiats.

10 Personally, I had to hire a lawyer Thomas J. Nolan, a former Assistant United States

11 Attorney for the Central District of California where he served as Chief of the Fraud

12 and Special Prosecutions Unit . I had to also explain to my law firm, clients,

13 investors13, family, and friends as best I could that I had done nothing wrong; I still

14 believed in good faith that our six BVCG Basquiats were authentic based on my

15 extensive due diligence; and I was cooperating with the FBI. I was distressed and

16 anxious about an FBI investigation and the potential implications for my career and

17 finances.

18          *We no longer had possession of our paintings and could not arrange for other
19 museum or art gallery exhibitions nor could we sell them.

20

21

22

23

24   11
     Barzman admitted that he had purchased the contents of a storage locker belonging to Mumford.
   Id., para. 32. He further stated that the locker contained some Mumford sports and entertainment
25 memorabilia which he sold.

26   As the government acknowledges, the seizure of these paintings has garnered “substantial
     12

   publicity.” Dkt. 29, p. 9.
27 13In order to pay for experts, storage, and other necessary costs, I raised over $350,000 from close
   friends and family who acquired a preferred profit participation interest in BVCG, and I loaned
28 about $100,000 to BVCG. My wife was an investor for $35,000. Thus, our family has lost nearly
   $150,000.
                                                      17
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 1          *The distinguished OMA Director and Chief Executive Officer, Dr. Aaron De
 2 Groft, who has consistently championed our paintings’ authenticity, was abruptly

 3 terminated.

 4          *The OMA’s accreditation was suspended, and its Board Chair was forced to
 5 resign.

 6          *The value of our paintings was totally destroyed. No one would purchase
 7 them, and no museum or art gallery would exhibit them. They might as well have

 8 been consumed by a fire. It is no exaggeration that if the art world had a Hall of

 9 Shame, our paintings would be permanently enshrined there.

10          *There was also an element of helplessness. As a trial lawyer, I had devoted
11 my career to determining disputes in a courtroom where due process, fairness, and the

12 rule of law reigns. What could I do to set the record straight that our Basquiats were

13 not fakes and its owners were not fraudsters? Where was a forum providing a

14 legitimate opportunity for an adversarial process to prove their authenticity?14

15          As discussed below, my frustration with having no immediate avenue to deal
16 with the paintings’ seizure was compounded by Barzman’s later false claim in his

17 plea that our paintings were fakes—an announcement that also garnered global

18 publicity and was perceived as confirming the justification for the FBI’s raid.

19 Virtually every article now calls our paintings “fakes” or “counterfeits” See, e.g.,

20 https://melmagazine.com/en-us/story/counterfeit-basquiat-painter;

21 https://patch.com/florida/orlando/orlando-museum-art-victim-basquiat-counterfeit-

22

23

24
   14
      The search warrant here was merely based on a probable cause determination without any input
25 from the paintings’ owners. I was not interviewed, and only one of our many experts was
   interviewed, and she confirmed in the Affidavit that she had told me in her report (discussed below)
26 that our six Basquiats had been painted by Basquiat. See Dr. Saggese Report (www.bvcg.org) And
   as noted below, the star witness Barzman—who apparently was not requested by the FBI to produce
27 any documents substantiating his claims—lied about his lack of any knowledge of our paintings.
   Barzman furnished the government with the supposed evidence to claim that the owners were
28 falsifying the provenance when they represented that Barzman had sold them the paintings after
   purchasing them from Mumford’s storage unit.
                                                    18
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 1 scheme-doj How could we prove that Barzman had perjured himself about our

 2 paintings’ illegitimacy? Hopefully, the Court will provide us that opportunity.

 3                   MY VOLUNTARY GOVERNMENT INTERVIEW
 4         Shortly after the raid, Mr. Nolan contacted Mark Williams, the Assistant
 5 United States Attorney in Los Angeles in charge of the case. Mr. Nolan advised him

 6 that he and I wanted to meet with the FBI and furnish them with significant evidence

 7 relevant to the Government’s investigation. AUSA Williams advised that I was not a

 8 target of their investigation and Mr. Nolan advised that I did not want any form of

 9 immunity in exchange for my willingness to talk with them. AUSA Williams

10 confirmed after my interview.15

11         In preparation for my meeting, I gathered all the information that I could find
12 in my files and my computer relating to our BVCG Basquiats, starting in the spring of

13 2017 when I began working on the project. Particularly, I gathered documents

14 relating to the sale of the 25 Basquiats to William Michael Force (“Force”) and

15 Lumsden (Lu) Quan (“Quan”) in 2012 who purchased them from Barzman and later

16 assigned their ownership rights to BVCG in 2017. Fortunately, I was able to capture

17 the email traffic relating to the sale.

18         I also retrieved emails in 2013 between Taryn Burns, Force’s life partner, and
19 Judith Karfiol, who had been Mumford’s attorney and also acted as the liaison in

20 arranging for a meeting with Mumford, Force, and Lee Mangan.

21         I also downloaded emails between me and Jonas Leborg, an art dealer in Oslo,
22 Norway who contacted me in mid-2022 as a result of the negative publicity regarding

23 our Basquiats. Mr. Leborg informed me that his client had purchased five paintings

24 on cardboard from Barzman in late 2012—paintings that Barzman represented to his

25 client came from Mumford’s locker and were attributable to Basquiat. Mr. Leborg

26
27   15
     Immediately after learning about the FBI subpoenaing OMA records about our paintings and the
   upcoming OMA exhibition, I sent an email to the FBI on July 21, 2021, stating that I wanted to
28 speak with them about the government’s investigation. See Exhibit 6. I never received a response.
   Nor did Mr. Mangan’s attorney who made a similar offer.
                                                   19
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 1 sent me photos of the five paintings plus photos of other paintings and drawings—22

 2 cardboard paintings altogether—that Barzman represented had also come from

 3 Mumford’s locker and were attributable to Basquiat. Some of the offerings were

 4 among the 25 Basquiats, and others appeared to be obvious fakes. See Exhibit 8.

 5        I prepared a PowerPoint presentation which contained 245 slides that included
 6 all the foregoing documents and photos as well as other information that I believed

 7 relevant to the government’s investigation.

 8        On August 3, 2022, Mr. Nolan and I met with AUSA Williams, and FBI
 9 Special Agents Elizabeth Rivas (who had signed the Affidavit,) Allen Grove, and

10 another Assistant United States Attorney whose name I do not recall and did not take

11 an active role during the interview. The interview lasted more than four hours.

12 Special Agent Grove did most of the questioning. I consented that the interview

13 could be recorded and I answered all their questions as best I could. I gave them an

14 electronic and hard copy of my PowerPoint.

15        A major thrust of the discussion was my presentation of the documentary
16 evidence demonstrating that Barzman had lied in the Affidavit. My records proved

17 that Barzman and his partner Matthew Steakley had in fact sold each of the 25

18 Basquiats to Force and Quan for about $15,000. Exhibit 3 contains copies of sales

19 records from Barzman and Steakley, including a bill of sale, emails, invoices, PayPal

20 receipts, and a check. Exhibit 4 is a description of these records and their

21 significance as explained by me in the meeting. These documents indicate that both

22 Barzman and Steakley told Force, Quan, and Burns that the paintings came from

23 Mumford’s storage locker at Ortiz Bros. Moving & Storage in Los Angeles.

24        Perhaps the most incriminating document is the first communication from
25 Steakley to Quan on Mike Barzman Auctions letterhead—an email dated October 11,

26 2012, attaching a Bill of Sale, where Steakely tells Quan in part:
27
          “This is a Bill of Sale for a Jean Michele [sic] Basquiat done on Card
28        Board. This is not a print or lithograph, this is an actual painting with a
          signature that reads ‘Jean Michele [sic] Basquiat and Samo on some.
                                               20
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 1       The provenance of this piece is it belonged to a man by the name of Tad
         [sic] Mumford who lived in NYC most of his life. I purchased his entire
 2       Art and Baseball memorabilia collection and this is the first piece of
         artwork that I am selling.”
 3 Exhibit 3 (emphasis added)

 4        I brought to the interview additional evidence showing Barzman marketing the
 5 Mumford Basquiats. At the same time that he was offering the real ones to Force and

 6 Quan, he is offering some of the genuine ones and some poor counterfeits to the

 7 buyer in Oslo, Norway. I gave the government this email traffic. See Exhibit 8.

 8        I also gave the government a notarized statement signed by Barzman, dated
 9 February 18, 2013—a few months after he sold the 26 Basquiats to Force and Quan.

10 See Exhibit 7. At the time, Mangan had 20 of the paintings in his possession, and

11 Force and Quan had the others. In his notarized statement, Barzman states that on

12 May 17, 2012, he “purchased the contents of storage locker – lot #2125 located at

13 Ortiz Bros. Moving and Storage which address is 141 W. Avenue 34, Los Angeles

14 California 90031.”

15        Barzman’s statement also provides: “To my knowledge, the contents of the
16 storage locker - lot #2125 were owned by a Mr. Thadeus [sic] Mumford.” Barzman

17 concludes by referencing “23 pages of photographs” attached to his statement, noting

18 that they “are most, if not all, of the contents from storage locker – lot #2125.” To

19 his notarized statement, Barzman attached photos of Mumford’s memorabilia relating

20 to being a batboy for the New York Yankees, his writing for, and association with,

21 M*A*S*H, and his television writing awards. Barzman also attached photos of the

22 front and back of 20 paintings that are among the 25 Basquiats.

23        The documentary evidence that I furnished the government graphically
24 confirms that Barzman lied to the FBI as recounted in the Affidavit. At the meeting,

25 Mr. Nolan and I and I could tell that the FBI did not have the evidence about

26 Barzman and Steakely selling the paintings to Force and Quan or the Oslo fellow.
27 We expressed the view that our nformation blew a gaping hole in the Affidavit and a

28

                                              21
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 1 critical basis for the assertion of probable cause, i.e., Barzman’s storage locker never

 2 contained any paintings attributed to Basquiat.

 3         The government could no longer adhere to the story that Barzman was not
 4 connected with our Basquiats. What the government did after my interview seems to

 5 be revealed in the Plea Agreement which states that only two weeks afterwards, the

 6 Special Agents of the FBI again interviewed Barzman. Whether they confronted him

 7 with the foregoing damning evidence then (or in the later interviews) is unknown.

 8         But what we do know is that Barzman’s claim that J.F. and he painted the 25
 9 Basquiats is flatly contradicted by his admissions in the sales records and his

10 voluntary, uncoerced notarized statement. We have here furnished the Court with

11 conclusive proof that our paintings are the victim of a false claim that they are fakes

12 and the justification for an evidentiary hearing to sort out the truth.

13   BARZMAN AND J.F. COULD NOT HAVE CREATED THESE PAINTINGS
14         Besides the evidence that Barzman lied multiple times to the FBI and has no
15 credibility, his story that his buddy and he painted our Basquiats is a preposterous

16 fiction for several reasons.

17         First, Steakely has not been accused of any crime here such as painting fakes or
18 a conspiracy with J.F. and Barzman. As we have seen, his October 11, 2012 email

19 truthfully acknowledges that the Mumford Basquiats provenance story is accurate.

20 See Exhibits 3, 4.

21         Second, Barzman’s notarized statement, dated February 18, 2013—admitting
22 that he obtained the paintings from Munford’s storage vault—corroborates Steakley’s

23 account of the Mumford provenance. See Exhibit 7.

24         Third, Bazman’s explanation of how he devised a supposedly phony link
25 between Mumford’s storage locker and Basquiat paintings strains credulity. He

26 claims that in 2012 he had purchased contents of Mumford’s locker and “used the
27 acquisition of Mumford’s stored items to create a false [Basquiat] provenance for the

28 Fraudulent Paintings.” Plea Agreement (Dkt. 24), p. 8. Now, one might ask, why

                                                22
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 1 Basquiat? Why not any number of often forged artists like Picasso, Rothko, or

 2 Pollock? Or if you are going for the African-American artist angle, why not Sam

 3 Gilliam, Faith Ringgold, or Kerry James Marshall?

 4        The fact of the matter is that Barzman never lets us in on the secret about his
 5 reasoning process. This makes sense for one simple reason: he did not have to invent

 6 an association with an artist because he bought paintings that Steakley and he

 7 attributed to Basquiat. It’s Occam’s razor.

 8        Fourth, Barzman and J.F. are the least likely Basquiat art forgers imaginable.
 9 Neither has any known education, training, or experience as artists. There are no

10 known exhibitions anywhere of their works, and an internet search yields nothing

11 along these lines. Barzman is a storage locker buyer and auctioneer while J.F. has

12 been a doorman at Los Angeles night clubs and reportedly a Christmas tree salesman.

13 A longtime Los Angeles gallery owner who knows J.F. has never seen any of his

14 paintings or heard of him painting any. No one has. In short, there is a greater

15 likelihood that my talented 13-year-old granddaughter painted our 25 Basquiats than

16 these two imposters.

17        Fifth, every expert whom I consulted quickly concluded two things:
18        (1)    Out of the 22 paintings and drawings offered to the Oslo buyer, 13 are
19 our Basquiats and the 9 others are obvious fakes (“the 9 Oslo fakes”). (The identified

20 fakes can be found in Exhibit 9.)

21        (2)    The person(s) who created the 9 Oslo fakes did not paint our 25
22 Basquiats fors everal reasons, including but not limited: (a) they have none of the

23 look, feel, or effect of genuine Basquiats from 1982; (b) they are poor drawings and

24 crude imitations of Basquiat’s hallmark golden three-pointed crown; (c) there is an

25 oafish attempt to draw eyes, mouths, and skeleton elements indicative of Basquiat’s

26 works; (d) we see an amateurish effort to replicate Basquiat’s trademark buildings;
27 and (e) the forgery of Basquiat’s signature is sloppy. See Exhibit 10 (Declaration of

28

                                              23
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 1 Michael Klein); Exhibit 11 (Declaration of Aaron De Groft).

 2        I have furnished two expert declarations for the Court.
 3        Dr. Aaron De Groft is a distinguished art historian with 35 years’ experience as
 4 a museum curator, author, lecturer, and museum director. Dr De Groft has personally

 5 examined the original 25 Basquiats, he approved them for the OMA Heroes &

 6 Monsters exhibition, and he has studied images the 9 Oslo fakes. His curriculum

 7 vitae can be found attached to his declaration. Dr. De Groft states:

 8
          “The 9 Oslo fakes do not come remotely close to resembling genuine
 9        Basquiat works.
10        “Two of the drawings (page 5 of Exhibit 9) are cluttered, demonstrating
          none of Basquiat’s remarkable sense of space and perspective.
11
          “These forgeries lack any sense of theme or purpose—how the artist is
12        trying to speak to us. One fake with mostly a brownish color and a
          crown (not remotely close to a real Basquiat crown) has no evident
13        purpose other than to fill up the cardboard.
14        “The multi-colored fake with some feet, vague torso, and black ink blot
          head, with floating blue paint dabs—on page 3 of Exhibit 9—is a
15        farcical attempt at imitating Basquiat. It is really embarrassing.
16        “The drawing with the two heads (page 5 of Exhibit 9)is not even
          remotely close to any authentic Basquiat. The nostrils, eyes, and mouths
17        are misshapen—almost as if the forger never before saw images of
          genuine Basquiats.
18
          “That these are fakes is not even a close question.”
19 Exhibit 11.

20        A second expert is Michael Klein, an eminent art authority who has spent 50
21 years as a museum curator, gallery owner, consultant to artists’ estates, and author.

22 Klein personally observed Basquiat painting in New York in 1982, and he worked on

23 an exhibition of 20 of the Basquiats that did not materialize. Klein has studied the

24 originals of the 25 Basquiats, and he has studied the images of the 9 Oslo fakes. His

25 curriculum vitae can be found attached to his declaration. Mr. Klein observes:

26
          “What captured the imagination of dealers and collectors in the 1980s
27        was the intensity and seemingly naive slant of Basquiat’s works. His
          sense of space and color was admirable as was his use of language and
28        the imagery of New York City buildings and the towers of public
                                              24
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 1          housing, street signs and runaway dogs. These are utterly absent or
            oafishly portrayed in the Oslo fakes.
 2
            We see nothing of the distinctive look and feel of genuine Basquiats.
 3          There is no effect that draws you to the work in a joyful desire to look
            for its meaning and truth for you.
 4
            When it comes to faces and figures, one of the Oslo fakes (page 3)
 5          shows faces that are blank or filled in with black. In sharp contrast,
            Basquiat’s works always contain an intensity in the eyes and an energy
 6          in the figures giving the figure its character or persona. The gallery of
            Oslo fakes shows faces with blank stares and hollow eyes. This was not
 7          Basquiat’s style or way of creating characters.
 8          The Oslo fakes totally miss capturing Basquiat’s caged mouths and
            skeletal elements. The three-pointed crown is oddly depicted. The
 9          signature seems to have been traced.
10          Basquiat was also self-taught by looking at other painters’ works such as
            Franz Kline and Cy Twombly. Thus, anything attempting to be
11          abstract is a mess and not displaying the intuitive layout that Basquiat
            understood was needed in a great painting.
12
           There is so much more wrong with the Oslo fakes. The three drawings
13         don’t even come close to a poor copy.”
     Exhibit 10.
14
            Klein also observes that “the person(s) who painted the former could not and
15
     did not paint the latter. The degree of sophistication, drawing ability, layering of
16
     paints, themes, motifs, and themes in the 25 Basquiats are totally lacking in the
17
     forgeries.” Id.
18
            Two statements by Barzman in his Plea Agreement (page 10) caught both
19
     experts’ attention:
20
            (1)    J.F. spent a maximum of 30 minutes and as little as 5 minutes on each
21
     painting.
22
            (2)    After finishing the images, they put them outdoors “to expose them to
23
     the elements and thus create an aged appearance consistent with works made in the
24
     1980’s when Basquiat was painting.”
25

26
            Dr. De Groft and Klein found these statements absurd for several reasons:
27
            (1)    The 9 Oslo fakes look like they could have been dashed off (hurriedly
28

                                                    25
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 1 mass produced) in 5 to 30 minutes each since they are crude at best imitations of

 2 Basquiat’s body of work.

 3        (2)    It would take an accomplished forger a lot longer than a few minutes to
 4 paint any of the 25 Basquiats.

 5        (3)    None of the 25 Basquiats are fakes.
 6        (4)    Exposing paintings on cardboard “to the elements” would not age them
 7 30 years (1982 vs. 2012), and this is not even a recognized aging process—especially

 8 as it appears that J.F. did not leave them outside for very long.

 9        (5)    Several condition reports for the 25 Basquiats found them in excellent
10 condition and not in any way faded, damaged, or otherwise indicative of being left

11 outdoors. See Exhibit 1 (Appraisal), p. 27 (“very good condition”); Dr. Saggese

12 Report, p.33 (“all [are] in excellent condition considering the reported age”);

13 Appendix C (condition reports) www.bvcg.org.; See Exhibit 10, Exhibit 11.

14        In sum, these two experts agree that the forgers of the 9 Oslo fakes did not
15 paint any of our 25 Basquiats. This expert consensus is another compelling reason to

16 reject Barzman’s claim that J.F. and he painted all the paintings.

17        That leads me to mention a disturbing fact. The Plea Agreement is signed by
18 Barzman and the government. Dkt. 24. On page 10, it is claimed that the

19 “Fraudulent Paintings” “include the following:”. Page 11 reproduces images of nine

20 paintings. Each is one of the 25 authentic Basquiats, and none are the 9 Oslo fakes.

21 What is going on here? This is still another compelling reason for an evidentiary

22 hearing.

23                            A FLUNKING MATH GRADE
24        It is stupefying to see so many implausible assertions, outlandish
25 exaggerations, self-evident inaccuracies, and internal inconsistencies in one Plea

26 Agreement to a single count of lying to the FBI. Let’s look at one
27 representative issue. That is a glaring invention that doesn’t add up—the math.

28

                                               26
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 1          Between the Affidavit, Plea Agreement, and sentencing memoranda, Barzman
 2 and the government offer no fewer than SIX different versions of the number of fakes

 3 that J.F. and the defendant manufactured. Let’s take a look.

 4          *Barzman sold “ten pieces” to Force, Quan, and Burn. Exhibit 2 (Affidavit),
 5 para. 32(a).

 6          *Barzman sold 20 paintings from Mumford’s storage locker. Exhibit 7
 7 (Barzman Notarized Statement).

 8          *Only nine paintings are depicted as fakes in the Plea Agreement. Dkt 24
 9 (Plea Agreement), p. 7.

10          *Barzman and J.F. Painted “20-30” fakes, i.e., 20, 21, 22, 23, 24, 25, 26, 27,
11 28, 29, or 30 fakes. Id., p. 6.

12          *”Most of” the 25 paintings in the OMA exhibition are his fakes, i.e., at least
13 13 but not 25 and thus only 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25. Id., p.

14 9. (That leaves at least 12 Basquiat paintings in the OMA exhibition that are not his

15 fakes. If so, who painted them? Maybe it was Basquiat!)

16          *Barzman created “about two dozen paintings.” Dkt 29 (Government
17 Sentencing Memorandum), p. 1.16

18          Altogether, Barzman gives us so many non-duplicated choices of the number
19 of his fakes. One would think that Barzman would have attempted to do something

20 in the Plea Agreement or his sentencing memorandum17 to settle upon a number or

21 reconcile the breathtaking contradictions concerning one of the most material issues

22 in the case. Of course, nothing in the Plea Agreement could cure the contradictory

23 numbers set in stone in the Affidavit and Notarized Statement. Barzman cannot

24 unring the bell.

25

26
27
   16
      As noted above, the number of actual known fakes is nine, but not the nine of our 25 authentic
28 Basquiats cynically depicted in the Plea Agreement. They are the 9 Oslo Fakes. See Exhibit 9.
   17
      Barzman’s sentencing memorandum is curiously silent about the amount of his forgeries.
                                                   27
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 1          This is not nitpicking. In a case dealing with supposedly fraudulent paintings,
 2 it is certainly material how many the defendant created. Barzman had plenty of time

 3 between his confession in October 2022 and signing his Plea Agreement in March

 4 2023 to examine the images, confer with J.F., and make an accurate determination.

 5 The wild discrepancy speaks volumes about his fabrication of the entire Barzman

 6 fakes provenance.

 7          We are left with the regrettable but ineluctable conclusion that the Court,
 8 public, and BVCG have been deceived in a most spectacular way. The supposed Art

 9 Crime of the Century is not the owners’ fraudulent claim of provenance that the 25

10 Basquiats came from Mumford. No, the crime here is a practiced deception that they

11 were painted by a scrounger of storage lockers and a night club doorman

12 moonlighting selling Christmas trees. Did they really think that no one would be able

13 to expose this blatant attempt to destroy the 25 Basquiats?

14          My words are harsh. I do not use them lightly. It is the evidence— mostly the
15 words from Barzman’s mouth—that compels this condemnation.18 I am fighting for a

16 chance—maybe my only one—to show the truth.

17           THE MUMFORD BASQUIATS PROVENANCE IS AUTHENTIC
18          I hope that I have demonstrated to the Court’s satisfaction that the Barzman
19 Fakes provenance is false, and that his false statements under oath warrant an

20 evidentiary hearing to protect the victims of his fraud on the Court. I now want to

21 summarize the substantial evidence establishing that the Mumford Basquiats

22 provenance— the 25 paintings were created by Basquiat, purchased by Mumford, and

23 stored away by him in his storage locker—is authentic. This evidence is independent

24 of the previously-discussed acknowledgments by Steakley and Barzman that the 25

25 Basquiats originated in Mumford’s storage unit.

26
27
   18
      There are other notable contradictions here. We are told that Barzman and J.F. created the fakes,
28 and Barzman sold them. How did he sell them? Barzman says he sold them “out of the trunk of
   their car” (Dkt 30, pp. 2, 7), while the government says that they were sold on ebay. (Dkt. 29, p. 2).
                                                     28
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 1         Preliminarily, I want to acknowledge the existence of a critique of the
 2 proposition that 25 works by a famous artist, potentially worth tens of millions of

 3 dollars if authentic, were found in a storage locker 30 years after they were

 4 supposedly painted. While lost authentic art has been found decades and even

 5 centuries after their creation19, a treasure trove of about two dozen would be indeed

 6 unusual.20 So, I acknowledge at the outset the presumed questionability of the

 7 Mumford Basquiats provenance.

 8         But that is all it is—a presumption. Presumptions of course are just the act of
 9 believing something is true without having any proof. In the law, presumptions must

10 be tested by evidence—the mother’s milk of our legal system. In adjudicating

11 disputes, facts reign supreme and overcome surmise, speculation, presumptions,

12 inferences, hearsay, hyperbole, and uninformed public opinion.

13         In his closing argument during his successful defense of the British soldiers in
14 the so-called Boston Massacre trial in 1770, John Adams famously told the jury:

15 “Facts are stubborn things; and whatever may be our wishes, our inclinations, or the

16 dictates of our passions, they cannot alter the state of facts or evidence.”

17         Let’s examine the facts supporting the validity of the Mumford Basquiats
18 provenance.

19

20

21

22
     19
     Masterpieces by iconic artists such as Rembrandt, Klimt, Van Gogh, Carvaggio, and Tiepolo have
23 been found in attics, basements, and behind walls, lost for upwards of 350 years.
   https://news.artnet.com/art-world/art-found-in-attics-ranked-1962993 In 2010, a trove of 271
24 previously unknown, authentic works by Picasso—worth hundreds of millions of dollars—was
   found in the possession of a retired French electrician and his wife.
25 https://abcnews.go.com/International/finding-lost-art-picasso-treasure-trove/story?id=12268538
   We can expect “to see more and more lost works of art turning up thanks to advances in technology
26 that can verify authenticity in a way that's never been possible before.” Id.
27   20
     But it would not be unheard of. See https://www.whatsellsbest.com/news-
   stories/2018/08/storage.php (Veteran New York gallery owner pays $15,000 for storage locker
28 contents containing what may be paintings by Willhem de Kooning and Paul Klee worth tens of
   millions of dollars.)
                                                   29
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 1          1.    Basquiat Was Known To Sell Paintings for Cash Without His
 2 Dealers

 3          Basquiat was a prolific artist who produced thousands of works. See, e.g,
 4 https://scholarship.richmond.edu/cgi/viewcontent.cgi?article=1815&context=masters-

 5 theses

 6          As noted above, Basquiat frequently sold his paintings on his own “out the
 7 back door” for cash, thereby eliminating the middle players, namely his dealers. This

 8 resulted in many works being unaccounted for when his Catalogue Raisonné was

 9 prepared. Indeed, “all experts agree that there are real Basquiats in existence that

10 were not authenticated by the Basquiat [Authentication] Committee or do not appear

11 in current publications. Basquiat was a prolific artist whose chaotic life meant that he

12 would distribute works outside his dealers.” Exhibit 1 (Appraisal Report), p. 29.

13          A claim that numerous Basquiat paintings—previously uncatalogued or
14 authenticated by the Committee, had been created at the same time, and sold by the

15 artist for cash—is on its face not necessarily false or unlikely since, as we have seen,

16 undocumented works by Basquiat have historic precedent. Moreover, this refutation

17 of any sweeping generalization is also supported by the common-sense fact that a

18 forger would produce at one time only one or two fakes on canvas (the preferred

19 substrate for purchasers) and not 25 on cardboard and plywood. See, e.g.,

20 https://www.austinartistsmarket.com/famous-fakes-art-history/

21          Eminent art critic Anthony Hayden-Guest, commenting on another large
22 collection that he found to be authentic Basquiats, once told me that “surely no faker

23 would produce such a remarkable quantity of fresh work. A pro will do two or three,

24 perhaps come up with a convincing provenance. . . . No faker in his right mind will

25 come up with a dozen [or more].”21

26
27
     One of our nation’s most distinguished art critics, Hayden-Guest has written
     21

28 several books and frequently contributed to major magazines such as the Sunday

                                                   30
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 1         Moreover, the circumstance of the discovery of these paintings—in a secure
 2 storage locker in a reputable storage facility and owned by a prominent Hollywood

 3 figure for decades—makes it more likely that they were not planted there by Barzman

 4 or recent fabrications. Indeed, as demonstrated above, the actual improbability here

 5 is Barzman’s fantastic tale riddled by so many glaring inconsistencies,

 6 implausibilities, and scientific impossibilities.

 7         2.     Mumford told six persons that the 25 Basquiats belonged to him.
 8         Over a five-year period between 2013 and 2017 toward the end of his life,
 9 Mumford told no fewer than six persons that he had befriended Basquiat in 1982,

10 gave him a small amount of money ($5,000) for a lot of paintings on cardboard that

11 he not like, put the paintings in a storage locker, never saw them again, and lost them

12 when he became seriously delinquent in paying his storage fees.

13                (a)    Lee Mangan and William Michael Force
14         After the paintings were purchased from Barzman, Lee Mangan and William
15 Michael Force sought to meet with Mumford. With the assistance of his longtime

16 lawyer Judith Karfiol, an introduction was made. Mangan and Force met twice with

17 Mumford in early 2013 at Canter’s Deli in the Fairfax District of Los Angeles.

18         At the meetings, Mumford told them that he got to know “Jean” (as he called
19 him) in 1982 while the artist was painting in Venice, California and Mumford was

20 working on the final episode of M*A*S*H. Basquiat needed money, so Mumford

21 paid $5,000 for a bunch of paintings on cardboard. Mumford did not like them;

22 rather than display them, he put them in his storage locker. These were his Basquiat

23

24

25
   Telegraph, Vanity Fair, The New Yorker, Paris Review, Sunday Times, Esquire,
26
   GQ (UK), The Observer, Radar, and Rolling Stone. Author of a highly-praised
27 Vanity Fair article on Basquiat while he was alive, Hayden-Guest knew Basquiat,
   watched him paint at his studio, and studied his works.
28

                                                  31
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 1 paintings that had been purchased out of his locker because he fell behind for several

 2 years in paying his storage fees. See Exhibit 12 (Declaration of Leo Mangan)

 3        Contemporaneous evidence substantiates that Mangan and Force are telling the
 4 truth that they met with Mumford.

 5        First, emails from his longtime attorney Judith Karfiol show she is arranging
 6 for a phone call between Mangan and Mumford. See Exhibit 13 (Judith Karfiol

 7 emails).

 8        Second, Mangan states that when he met with Mumford, he asked him for the
 9 record showing that he had a storage locker from which his paintings were taken and

10 sold. Mangan could not obtain a copy of this private business document without

11 Mumford’s consent. Mumford said that he would contact the storage company, and

12 he did.

13        In one of the most significant documents in this case, Renee Ortiz, the
14 accountant at Ortiz Bros. Moving & Storage where Mumford stored his paintings,

15 sends an email to Mangan confirming that Mumford had asked her to send the

16 attached document which is the dunning notice sent to Mumford in April 2012. See

17 Exhibit 14 (dunning notice).

18        Ortiz says:
19
          "Lee,
20
         Per Thad Mumford's request, I'm sending you his auction notice and
21       statement of account. This was sent to him via certified mail advising
         him of the auction. Other lots were sold that day, however storage
22       accounts were not commingled and were sold separately. Please let me
         know if you have any questions. Thank you."
23 Exhibit 15 (Email from Renee Ortiz to Lee Mangan, dated January 30, 2013)

24 (emphasis added)

25        This stunning piece of evidence alone removes any doubt that Mangan and
26 Force developed a relationship with Mumford in early 2013 just as they state.
27

28

                                              32
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 1               (b)   Taryn Burns
 2         On February 13, 2103, Mumford left two voice messages on Taryn Burns’
 3 answering machine in response to her call to him. Mumford confirmed that the

 4 paintings that came from his storage locker had been purchased by him from Basquiat

 5 when he was working on M*A*S*H. See Dr. Saggese Report, Appendix B

 6 (Declaration of Taryn Burns) (www.bvcg.org)

 7         Mumford also had telephone calls in mid-2017 with two highly credible
 8 persons independent of this case. Both have signed declarations about their

 9 interaction with Mumford. These calls further confirm the authenticity of the

10 Mumford Basquiats provenance.

11               (c)   Talin Maltepe
12         The first call was with Talin Maltepe who is a Toronto resident and principal
13 owner of an art advisory firm. Maltepe has an M.F.A. from York University, and her

14 Master’s thesis was on Basquiat. For many years, she has dealt with uncatalogued

15 works attributed to Basquiat and others.

16         Before she agreed to help the owner market his Basquiat paintings, Maltepe
17 examined the originals, and they appeared to her to be authentic works by the hand of

18 Basquiat. She got Mumford’s phone number and called him. Here is what she says

19 about her conversation with Mumford.

20
           “I spoke to Mr. Mumford by telephone in or around the Spring of 2017.
21         Mr. Mumford told me that he had met Basquiat in 1982, in Los Angeles.
           They attended parties and night clubs together, and the two bonded
22         because of their status as successful Black artists. Mumford
           commissioned a painting from Basquiat for $5,000 and paid in cash.
23         Mumford told me that, in those days, $5,000 was little to him and he was
           happy to help his friend raise money. Mumford had expected to receive a
24         single large canvas. Instead, Basquiat delivered a whole bunch of works
           on cardboard. Mumford said that he did not care for the paintings and
25         did not want to frame or display them in his home. On the other hand,
           he did not want to offend his friend, so he accepted the paintings
26         graciously and then decided to store them. He sounded upset that he lost
           those paintings and that really convinced me that the paintings were
27         authentic since he had nothing to gain.”
     Exhibit 16 (Declaration of Talin Maltepe (February 25, 2022), Para. 7) (emphasis
28

                                              33
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 1 added)22

 2                 (d)    Ed Celis
 3          The second Mumford call was with Eduardo Celis Rojo who calls himself Ed
 4 Celis. He is a respected entrepreneur, producer, and documentarian whose company

 5 is located in Santa Monica. While he was working on a documentary Bill of Sale

 6 about previously unknown works by various artists, including Basquiat, he met Talin

 7 Maltepe. In early summer of 2017, Maltepe told him about the Basquiats and

 8 Mumford.

 9          Celis found this information relevant to his documentary.
10
         “I was interested in the human aspect of the story: how Mr. Mumford
11       had lost access to a storage space in Los Angeles that contained some of
         his most cherished possessions including a historical Emmy award,
12       baseball memorabilia, and the paintings by Basquiat.”
   Exhibit 17 (Celis Declaration (April 11, 2022), para. 5)
13
            Celis was eventually able to reach and speak with Mumford about Basquiat and
14
     the paintings that Mumford bought from him.
15

16          “I tried multiple times to contact Mr. Mumford unsuccessfully, but when
            I finally got a hold of him, he explained that he had not been feeling well
17          for some time. Our conversation was brief and friendly. Mumford
            sounded tired, frail, older than I expected, but eloquent and bright. He
18          was generous with his time, given that we had never met and his
            condition.
19
          “We spoke about his work and life experience, which paralleled my
20        father's, who also came to California to work in the entertainment
          industry after growing up in New York. They were both Yankee fans,
21        and Mr. Mumford had been a batboy for them in his youth. He enjoyed
          talking about the Yankees and his work in Hollywood—the memories
22        brightened him up.”
   Id., paras. 6 & 7.
23
            Celis directed the conversation to Basquiat and his paintings.
24

25          “At that point, the conversation shifted to the story that had been related
            to Talin by her clients: How he lost access to a storage unit in Los
26          Angeles where he had stored his most valuable memories (particularly
27
   22
      Based on her academic background in Basquiat and years as an art advisor working with the
28 artist’s works, Maltepe believed that the paintings “are authentic works made by the hand of Jean-
   Michel Basquiat [and] that they are some of his finest works . . . .” Id., para. 11.
                                                     34
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 1          his Hollywood and Yankees memorabilia) and the Basquiat paintings
            and ‘other stuff.’
 2
            “He did not say much about the paintings other than to describe them as
 3          `they're on cardboard - and not pretty. Not my favorite. It was just sad,
            losing those things for an unpaid bill.’
 4
          “When I tried to ask him about his time with Basquiat in Los Angeles in
 5        1982, he responded that he was willing to be interviewed and talk to me
          about the paintings and Basquiat `I could talk about Jean, yeh, we can
 6        talk about that. We spent some good times together.’”
   Id., paras. 9-11.
 7
            Celis is clear about what Mumford told him during that phone conversation.
 8

 9        “When I spoke with Mr. Mumford, he confirmed that he had lost a rental
          storage unit containing some of his most dear mementos and possessions
10        of great sentimental value, including photographs, baseball memorabilia,
          his Emmy, and some cardboard paintings by Basquiat. He stated that he
11        had known Basquiat and was willing to talk to me about his time with
          him.”
12 Id., para. 14.

13                  (e)     Adriana Trigiani
14          As discussed below, in late 2015 or early 2016, Mumford also told a former
15 colleague (Adriana Trigiani) that had purchased numerous paintings from Basquiat.

16 See Exhibit 5.

17          These accounts of conversations with Mumford by five persons are consistent
18 with each other and consistent with Burns’ report about his two voice messages.23

19 The vast weight of credible evidence substantiates the validity Mumford Basquiats

20 provenance.24

21

22

23   23
       It is striking that these witnesses have not talked with each other about their statements. In fact,
     Maltepe and Celis do not know Burns, and Mangan has no prior contacts with Celis.
24   24 According to the Affidavit, Mumford twice told law enforcement— in 2014 and 2017—that he
     denied buying any paintings from Basquiat and there were never any such paintings in his storage
25   unit. See Exhibit 2, paras 13 & 14. As we have seen, however, Mumford volunteered just the
     opposite to five persons in 2013 and 2017. There are understandable reasons why Mumford would
26   not be telling the truth to law enforcement which can be discussed if necessary at a later time. At a
     minimum, there was substantial evidence justifying the Basquiats’ owners to believe in good faith,
27   and make representations about, the Mumford Basquiats provenance. We never made any
     knowingly false claims about the origins of the paintings, and as it turns out, we were right.
28

                                                       35
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 1        3.     Mumford and Basquiat collaborated on an autobiographical Poem.
 2        As discussed below, I obtained a Poem that was reportedly the joint effort of
 3 Basquiat and Mumford in 1982, appeared to confirm a close bond between the two,

 4 and mentioned numerous common aspects of their lives and paintings. If this

 5 document was legitimate, it provided in my mind another independent, indeed

 6 conclusive, verification of the Mumford Basquiats provenance that could be sourced

 7 to Basquiat himself. I set out to determine the Poem’s authenticity.

 8        When I met for the first time with Lee Mangan in early 2018, he gave me a
 9 copy of a typed poem that he said was given to him by Mumford via an intermediary

10 in late 2015 or early 2016 (“Poem”). See Exhibit 18. The Poem is initialed “JMB.”

11 Mangan called it metaphorically “the receipt” for the paintings.

12        The Poem is 21 lines of free verse with numerous striking autobiographical
13 references that are common to both Basquiat and Mumford in terms of their lives as

14 creative persons, Black men in a Caucasian world, and Brooklyn roots. There is even

15 a reference to “25 paintings.” Here is a legible version of the Poem:

16
                                      “The start of a new day
17                                     No longer outsiders
18                         Industry insiders golden crowns receiving
                                Brooklyn brothers hands creating
19                               Drawing writing bridging gaps
                                        LA summer bright
20                          Beware the fleeing wretched loneliness
                                   25 paintings bringing riches
21                               Sing along Dr. Thad sing along
                                Breaking bread this our summer
22                              Wrapping close last scene of war
                                        Eat drink celebrate
23                                   Choices made intriguing
                                  A serious quest we undertake
24                                   Raw emotions of a child
                                           Did you know
25                            We film, we write, we film, we paint
                           Crowning glory brings cheers and statues
26                                    Oh how grand we feel
                                  Oh how lovely our life will be
27                   A baseball a bird a television our play a future brigh(t)”
28

                                              36
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 1        *The reference to “Sing along Dr. Thad sing along” is a tell-tale clue that the
 2 Poem is clearly referring to Mumford. Not only did he go by the name “Thad,” he

 3 created (and was the voice for) a popular character “Dr. Thad” for Sesame Street who

 4 appeared in the recurring skit “Dr. Thad and The Medications.”

 5 (http://www.behindthevoiceactors.com/tv-shows/Sesame-Street/Dr-Thad/ )

 6 (https://en.wikipedia.org/wiki/Thad_Mumford) Basquiat was an avid tv viewer as a

 7 young boy and teenager. “Sing along Dr. Thad sing along” is an homage to Mumford

 8 as a friend and creative talent.

 9 http://muppet.wikia.com/wiki/Dr._Thad_and_the_Medications?file=Thad%26Medica

10 tions.jpg

11        *The artist and writer developed a close, albeit apparently brief, relationship.
12 This was “LA summer bright” while the two new friends were ”breaking bread” and

13 liked to “[e]at drink celebrate.” Basquiat was a known partyer, playboy, and drug

14 user. https://www.nytimes.com/1988/08/27/arts/jean-michel-basquiat-hazards-of-

15 sudden-success-and-fame.html;

16 https://www.theguardian.com/artanddesign/2017/sep/03/jean-michel-basquiat-

17 retrospective-barbican

18        *Basquiat and Mumford shared common geographical roots—they were
19 “Brooklyn brothers . . . .” Basquiat was born in Brooklyn Hospital and frequented

20 the Brooklyn Museum as a youth. Mumford also grew up in Brooklyn and was the

21 first African-American batboy for the New York Yankees.

22        *They are artistic brothers (“hands creating”): Basquiat “[d]rawing” and
23 Mumford “writing.” “We film, we write, we film, we paint . . . .”

24        *The two soul brothers are also artistic pioneers among African-Americans
25 who are “bridging gaps” between the races. Basquiat’s career as a painter—in an

26 almost completely Caucasian art world—was taking off, while Mumford had long
27 ago established himself as a stellar television writer/producer for such cross-over hit

28 shows as Cosby, Maude, Roots: The Next Generation, Sesame Street, and M*A*S*H.

                                              37
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 1 They were “[n]o longer outsiders” but instead “[i]ndustry insiders golden crowns

 2 receiving.”

 3         *The reference to “golden crowns” alludes to Basquiat’s frequent use of a
 4 three-pointed crown as his signature on his paintings, including several in the 25

 5 Basquiats. Basquiat also depicted power figures/aristocracy wearing crowns.

 6         *By referencing “[r]aw emotions of a child,” “[c]hoices made intriguing,” and
 7 “[a] serious quest we undertake,” Basquiat was likely referring to his welcomed

 8 escape to Los Angeles in 1982 and his coveted break from the pressures of painting

 9 large canvases for New York and European exhibitions. This escape afforded him

10 the opportunity for freedom to experiment with style, substrates, size, themes,

11 symbols, and colors—all of which are reflected in the 25 Basquiats. By all accounts,

12 1982 marked the zenith of his artistic genius. For example, as noted, Basquiat’s

13 Untitled—sold at auction for record price of $110.5 million in May 2017—was

14 painted in 1982.

15         *This was a time before Basquiat completely soured on the stultifying
16 commercial art scene of New York-based art dealers (whom he fired and

17 circumvented with regularity). Here Basquiat expresses passionate optimism, indeed

18 exhilaration, about his art: “Oh how grand we feel/Oh how lovely our life will be . . .

19 a future bright.”

20
           *In the last line, the Poem mentions three images that appear in one of the 25
21
     Basquiats: “[a] baseball a bird a television. . . .”
22
           In an essay “BROTHERS IN BOND THADDEUS Q. MUMFORD, JR AND
23
     JEAN-MICHEL BASQUIAT: A LIFE AND LEGACY IN 25 PAINTINGS,” the
24
     OMA catalogue Heroes & Monsters (pp. 42-48) contains an in-depth analysis of the
25
     Poem, the rich autobiographical references, and this work’s significance in
26
     authenticating the paintings. (www.bvcg.org)
27

28

                                                  38
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 1          If authentic, the Poem is a remarkable memento of two strangers bonding for at
 2 least a while and singing in verse their shared interests and aspirations—and leaving

 3 no reasonable doubt that Mumford acquired paintings from Basquiat. But was the

 4 Poem genuine? The first thing that I sought was an expert opinion on the JMB

 5 handwriting on the Poem.

 6          I engaged James Blanco to examine the Poem. One of the nation’s foremost
 7 document examiners, Blanco has rendered over 8,000 expert reports and testified as

 8 an expert in hundreds of federal and state cases. A former forensic document

 9 examiner for the U.S. and California Departments of Justice, Blanco has analyzed

10 the paintings of numerous artists, including Picasso, Cezanne, Rembrandt, Pollock,

11 Degas, Matisse, de Kooning, Basquiat, Dali, and many others.

12          On May 5, 2018, I received a report from Blanco analyzing the JMB initials on
13 the Poem. www.bvcg.org Blanco concluded that based on a comparison to

14 Basquiat’s known handwriting, Basquiat wrote the initials on the Poem.

15
           “Due to the numerous similarities in handwriting features, Jean-Michel
16         Basquiat is identified as the author of the “JMB” handwritten initials
           appearing on the poem.”
17 Id., p. 4.24

18          Significantly, in some classic detective work, Blanco also determined that the
19 typewriter used was of the period when the Poem was believed to be created in 1982.

20
            “The mechanical printing on the poem, that is the typewriting, was
21          examined to see if there was any evidence to help determine a time
            period in which the poem was created. Although a copy of the poem was
22          provided for analysis, evidence did emerge to determine rough dating
            parameters for the creation of the poem. That is, it was not printed on
23          any modern printer because the typed alpha-characters are consistent
            with impact typewriters from the 1982 time period when the poem was
24          thought to have be created. . . .
25
   24
      In the lexicon of document examination, “identified” has a special meaning.
26 “Identified” is a term of art in the field that “represents the highest degree of confidence expressed
   by document examiners in handwriting comparisons. That is, the examiner has no reservations
27 whatsoever, and the examiner is certain, based on evidence contained in the questioned materials,
   that the writer of the known material actually wrote the handwritten works in question . . . .”
28 Blanco Report, p. 4 (emphasis added). www.bvcg.org

                                                      39
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 1          “Examination of the typewriting of the poem revealed a typing
            correction over the same character, the lower dipping of some characters
 2          below the base-line and other character malalignments, all consistent
            with impact typewriters from the 1982 time period when the poem was
 3          thought to have been created. The presence of these typing defects
            demonstrate that the poem under review was not created by modern
 4          technology after the 1982 time period such as daisy wheel typewriters,
            dot matrix printers, laser (xerographic) printers, ink-jet printers or
 5          thermal process printers. The observed evidence tells us that the poem
            was not typed using computer software since an impact typewriter was
 6          used.”
     Id.,p. 6 (emphasis added).
 7
           Later, in April 2022, I engaged another experienced forensic document
 8
     examiner, Kurt Kuhn, to perform a peer review of Blanco’s report on the JMB
 9
     initials on the Poem. On April 21, 2022, Kuhn reported his agreement with both
10
     Blanco’s methodology and conclusion that Basquiat wrote the JMB initials.
11

12     “Based on my personal review of the exhibits contained within
       Mr. Blanco’s [May 5, 2018] report and his observations and findings, I
13     concur with his observations and findings regarding authorship of the
       initials on the untitled, `Poem’.”
14 www.bvcg.org

15         Based on the Poem’s contents, verification that JMB was written by Basquiat,
16 and the typewriter’s vintage as 1982ish, I was convinced that the Poem was authentic.

17 The one unanswered question, however, was how Mangan came to possess the Poem.

18 Mangan told me that an associate Torrie Geisler had obtained it from a college friend

19 who had worked with Mumford as a tv writer and got it directly from Mumford. Her

20 name was Adriana Trigiani.

21         Trgiani is a major literary figure. After working in Hollywood on several
22 television series, including A Different World with Mumford (1989-90), Trigiani

23 struck out on her own. She has become a popular New York Times bestselling author

24 who has written 18 bestsellers in fiction and nonfiction. Trigiani has also excelled as

25 a playwright, television producer, and film screenwriter/director/producer.

26 https://en.wikipedia.org/wiki/Adriana_Trigiani
27         My efforts to contact Trigiani were unsuccessful until I learned that she would
28 be doing a book signing at a northern New Jersey bookstore. Mangan and his wife

                                              40
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 1 Michelle attended the event, introduced themselves, and asked if Trigiani recalled

 2 helping her friend Geisler obtain the Poem from Mumford. Trigiani responded that

 3 she did indeed remember this incident and agreed to sign a statement to this effect.

 4 See Exhibit 12 (Declaration of Lee Manan)

 5         Trigiani has signed a statement, dated April 2, 2023. See Exhibit 5. In
 6 pertinent part, she states:

 7
           “While I was in college, I met Torrie Geisler who was a native of
 8         Indiana. Torrie and I became very close friends.
 9         “Thad [Mumford] was an avid art collector.
10         “Sometime in late 2015 or early 2016, Torrie contacted me to ask a
           favor. She said that she knew that I had worked with Thad, was working
11         on a project involving his Basquiat paintings, and needed some
           information about his collection. Specifically, she wanted any
12         documentation that he had a relationship with Basquiat and had
           purchased the paintings from him.
13
           “I was able to contact Thad and told him what I needed. Thad came
14         back to me with a document that he called ‘a poem written by Jean and
           me.’ A copy of the poem is attached.
15
           “Once I received the poem, I gave it to Torrie.”
16 Id.

17         The Trigiani statement ices the Poem’s authenticity. As Mangan aptly
18 observed, the Poem is the functional equivalent of Basquiat’s receipt for Mumford’s

19 payment for the 25 paintings. In a larger sense, however, it is much more—the Poem

20 stands as an eloquent testimonial to artistic friendship. And for Michael Barzman,

21 the Poem is a deafening rebuke to his tawdry tale of art fraud.

22       A COLLECTION OF SIX EXPERTS HAS FOUND THE 25 PAINTINGS
23                                      AUTHENTIC
24         I hope that the foregoing evidence has been sufficient to demonstrate that the
25 Barzman Fakes provenance for the 25 paintings is utterly false and that as victims of

26 his false statements under oath, we are entitled to a hearing to present this evidence. I
27 also want to present the Court with some additional information further proving that

28 the Barzman Fakes provenance is fake because the 25 Basquiat paintings are in fact

                                               41
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 1 authentic. Over the past six years, an impressive array of six experts (plus the OMA

 2 curators) from diverse backgrounds have opined that the 25 Basquiats are authentic,

 3 i.e., created by his hands and thus attributable to him.25 I will briefly summarize each

 4 opinion.

 5          1.     Diego Cortez (1946-2021)
 6          Basquiat was a street artist in New York when he was discovered by Diego
 7 Cortez. A mid-thirties, avant-garde art curator and filmmaker, Cortez took the 20-

 8 year-old artist off the streets and gave him some art supplies to paint in a studio. In

 9 his career, Cortez curated over 100 exhibitions, including the influential 1981 post-

10 punk art show New York/New Wave at MoMA PS1 at which Cortez arranged for

11 Basquiat to exhibit. This exhibition debuted Basquiat and launched his dazzling

12 career.

13          From there, Basquiat’s fame spread like a prairie fire with collectors flocking
14 to a succession of exhibitions in 1981 and 1982 in Modena, Italy, New York, Los

15 Angeles, Zurich, Rome, Rotterdam, and Kassel, Germany. Basquiat’s first agent,

16 Cortez was responsible for selling his works and then introducing him to most of his

17 subsequent dealers. Cortez remained in Basquiat’s life until he died in 1988.

18          When Basquiat died, his father Gerard formed the Basquiat Estate
19 Authentication Committee. Cortez was co-chair and considered the most

20 knowledgeable among the committee members. After reviewing about 2,000 works,

21

22
   25
      “Authentic,” “authenticate,” and “authentication” are terms in the art world that historically have
23 meant that an artist’s estate—via an official catalogue raisonné or authentication committee—has
   determined that the work was created by the artist and thus is his/her work, i.e., it is authentic. In
24 our case, the 25 Basquiat paintings were in storage from 1982 through 2012, and they were thus not
   known to exist for inclusion in Basquiat’s catalogue raisonné (last published in 2010) or not
25 available for review by the Basquiat Estate Authentication Committee (disbanded in 2012).
   Nonetheless, the art world recognizes surrogates for these two authentication sources—typically,
26 experts with academic and real-world experience, knowledge, and familiarity with an artist that
   entitles them to render an opinion on whether a particular work was created by the artist and
27 therefore attributable to him. Some experts use the terms “authentic,” “authenticate,” and
   “authentication,” while others use “attributed” or “attributable.” In the end, however, it means the
28 same thing—in the expert’s opinion, the referenced artist created the work.

                                                      42
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 1 the Committee disbanded in 2012. From all that I read and was told by experienced

 2 people in the modern art world, there was no more qualified expert than Cortez with

 3 the credentials and experience to authenticate Mumford’s paintings.

 4              On March 1, 2019, Cortez personally examined our six BVCG Basquiats at
 5 their New York storage location. Thereafter, he gave me his signed Statement of

 6 Authenticity which states in part:

 7
                “It is my opinion that the six works are all authentic works by Jean-
 8              Michel Basquiat . . . . The signatures on the paintings all seem correct.
 9              “. . . I am a knowledgeable expert on Basquiat’s work, especially his
                early work from 1980-1982. . . .
10
                “Strong graphic work with a central iconic figure, which is represented
11              in these works, is an excellent example of Basquiat’s work from that
                period.
12
                “I feel the key to Basquiat’s work is his [drawing] properties—his
13              intensity of line. I personally prefer work done by him from early 1981
                through early 1983. . . .
14
         “These works capture that power which has subsequently engaged so
15       many collectors and museums around the world.”
     www.bvcg.org 26
16
                2.     James Blanco
17
                I engaged the renowned forensic document and art examiner to analyze our six
18
     paintings. James Blanco performed a detailed comparison of our paintings and
19
     known Basquiat paintings in the Catalogue Raisonné and The Notebooks of Basquiat.
20
     Blanco concluded that all six works were created by Basquiat.
21

22       “Numerous distinctive similarities were observed in the comparisons of
         the hand printings, monograms, symbols, markings, sketches and
23       doodles observed in each of the six Catalogue items referenced herein
         when compared to the known works by Jean-Michel Basquiat as
24       presented in the Catalogue Raisonné and in The Notebooks. Due to these
         similarities, Jean-Michel Basquiat is identified as the person who created
25       each of the [six paintings] presented in this report. That is to say, Jean
         Michel Basquiat authored each of the [six paintings].”
26   www.bvcg.org (emphasis added)
27

28
     26
          Cortez also separately examined and issued a Statement of Authenticity for the other 19 Basquiats.
                                                         43
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 1         Significantly, on our six paintings, Blanco finds Basquiat’s signature on 4
 2 pieces, his distinctive three-pointed crown on 5 works, and both on 2 paintings. Id.

 3         3.     Dr. Jordana Moore Saggese
 4         I was fortunate to be able to engage Dr. Jordana Moore Saggese to examine the
 5 paintings. A foremost authority with impressive credentials, she was the leading

 6 academic scholar on Basquiats’ body of work. Dr. Saggese has published two

 7 acclaimed books and lectured widely about the artist. At the time an Associate

 8 Professor at California College of the Arts in San Francisco, she was awed by the six

 9 works when she saw them for the first time on July 18, 2017. She told me:

10
           “These are marvelous works in excellent condition that have many of the
11         distinctive elements of Basquiat’s best paintings. A lot of his early
           works were opportunistic of what materials were available. Cardboard is
12         not out of the realm of possibility.”
           Dr. Saggese then gave an analysis of each painting which she unequivocally
13
     attributed to Basquiat.
14

15         One More King/Czar: “looks very good;” “an early work with familiar
           markers;” “crown resembles first crowns;” “feathers are a common
16         theme;” “the writing and repetition of ‘a’ are very common.”
17         He Didn’t: “this painting has commonality seen in similar works,
           including the arms come around and are extended;” “the general shape
18         of the aura and crown are commonly seen elements;” “there are many
           more common motifs such as a lot of doodling, references to music,
19         anatomy of the lungs and heart, and others.”
20         Boxer: “This is a very beautiful one;” “the use of multiple ‘s’s” is seen in
           similar works such as Net Weight in 1981;” “the eyes, nose, and head are
21         typical and very popular in Basquiat’s works;” “the copyright symbol ©
           lived past the days of SAMO, identifying his ownership in his own
22         career.”
23         Self-portrait with his cowboy hat wearing Leonardo da Vinci’s flying
           suit: “This is the most exciting of the whole works, a very strong piece;”
24         “many elements are common, including the cowboy figure, the ghost,
           skyscrapers and cityscapes, painting over things, several layers of
25         underpainting, and the signature spelling out his full name.”
26         Colorful Face or Skull: “This is very exciting. The piece is not as similar
           as the other works. The shape of the head, the roundness, the teeth, two
27         different shapes of the eyes is not seen often.”
28         Reptile With Claws and a Crown: The front of the unique two-sided
           painting: “This reptile with a crown is strikingly comparable to a known
                                               44
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 1         work. The upraised arms are common elements, revealing the arm and
           the joint. Very interesting. This has hints of reptilian with comparison of
 2         works of dinosaurs. The almost cartoonish reference to ‘BAT BAT,
           BAT’ has an element of monster humor. There are multiple outlines
 3         which is commonly seen in Basquiat’s works. There are a lot of
           nuances. This has a deeper meaning. There is nothing indicative of a
 4         rush job.”
 5         The verso (Mystery Creature/Bat): “The interesting head is similar to
           later works. This is a fantastic work in striking superb condition.”
 6         Dr. Saggese then conducted several months of extensive research, culminating
 7 in a thorough, scholarly 73-page report issued on November 30, 2017. Her analysis

 8 is a masterful study of Basquiat’s life, themes, historical significance, and stated the

 9 reasons why she unequivocally concluded that each of our six paintings were

10 “consistent with the hand of Jean-Michel Basquiat and may be attributed to him.” Dr.

11 Saggese Report, pages 47, 52-53, 55-56, 61, 66, 71, 73 (emphasis added)

12 (www.bvcg.org)

13         Dr. Saggese explained her thinking:
14
            “[I]t is my professional opinion that [these six paintings] may be
15          attributed to Jean-Michel Basquiat based on their comparison to known
            works, with which these paintings share imagery and icons. The
16          paintings contain many of the most popular symbols of Jean-Michel
            Basquiat, including: crowns, figures with halos, arrows, figures with top
17          hats, skulls, and bird-like figures. We also see several examples of cars
            and trucks, which held a personal significance for the artist given his
18          childhood experience of being hit by a car. The constellation of images
            that appear on the surfaces operate outside of a specific narrative; it
19          seems instead that the works have been radically distilled to include only
            the most salient symbols, as if an attempt is made here to represent the
20          artist only via specific reference to his best-known works. Here, the
            symbols themselves become a type of currency, a recognition of the
21          artist’s marketability and significance on a global scale.”
     Id., pages 42-43 (emphasis added)
22
           These three expert opinions—by Cortez, Blanco, and Dr. Saggese—had been
23
     received by the time in spring of 2021 when the OMA decided to mount an exhibition
24
     of the 25 paintings in 2022.
25
           4.     Dr. Aaron De Groft
26
           The decision to exhibit our paintings was made by the OMA Director and
27
     Chief Executive Officer Dr. Aaron De Groft and his curatorial staff, led by Hanson
28

                                               45
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 1 Mulford. At his retirement, Mulford was Senior Curator of the Collections and

 2 Exhibitions Department, having served in various capacities at OMA since 1981.

 3 https://www.orlandoarchitecture.org/artshowjudges

 4          For over 35 years, Dr. De Groft, an art historian with three degrees, has been a
 5 museum director, author, and art curator. He was the former director for

 6 the Muscarelle Museum of Art at the College of William and Mary before he joined

 7 OMA in 2021. https://en.wikipedia.org/wiki/Aaron_De_Groft27

 8          In the spring of 2021, as part of his due diligence, Dr. De Groft and a curatorial
 9 staff member traveled to New York to view the 25 Basquiats. After his examination,

10 he emailed me:

11
            “These are astounding masterpieces in one of the last times Basquiat
12          was painting for himself. After the year 1982, Basquiat was always
            painting for someone else. The exceptional quality and depth of these
13          raw-energy cardboard and plywood works from the Mumford Collection
            are the purist form of Basquiat, much like when he was painting in and
14          painting on…Brooklyn. We made a discovery never mentioned or
            observed and recorded before by anyone. Basquiat used spray painting
15          on these cardboards from the Mumford Collection, thus tying these
            California pictures directly to Brooklyn. . . . I will say once again that
16          these works in the Mumford Collection are masterpieces and, as of yet,
            there are no comparable works like this now, or before them. I would say
17          they are singularly unique. Let me know how I can help to debut these
            masterpieces to the world.”
18
     Emphasis added.
19       5.     The OMA Catalogue Expert Opinions
20          OMA produced a marvelous 166-page catalogue with very high-quality
21 artwork. The digital catalogue can be found on our BVCG website:

22 https://www.bvcg.org/oam-cat. The catalogue is a significant collection of serious

23 scholarly articles about Basquiat and the 25 paintings. Four of the authors and the

24 OMA curatorial team unequivocally endorsed the validity of the collection.

25

26
27   After publicly defending Dr. De Groft’s decision to mount the Heroes & Monsters exhibition,
     27

   OMA abruptly terminated him following the paintings’ seizure by the FBI. Dr. De Groft continues
28 to vigorously champion the paintings’ authenticity and exceptional quality. See Exhibit 11, para. 6
   (Declaration of Aaron De Groft)
                                                    46
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 1                      (i)    Dr. Aaron De Groft
 2         In his Introduction (p. 20), Dr. De Groft praised the works as quintessential
 3 Basquiat.

 4
            “The fact that these masterpieces even exist untouched for thirty years is
 5          a marvelous miracle for all of us. That they are fresh and vivid—having
            been fortuitously locked away and perfectly preserved for thirty years—
 6          makes the opportunity to see them for the first time a once-in-a-lifetime
            experience. The exceptional quality and depth of these raw energy
 7          cardboard and plywood works from the Mumford Collection are the
            purest form of Basquiat much like when he was in and painting on New
 8          York. The works are exuberant Basquiats, and they exude power and
            energy long before the battery went dry. They are destined to be ranked
 9          among his very best works.”
     https://www.bvcg.org/oam-cat (emphasis added)
10
                        (ii)   Michael Klein
11
           Michael Klein, the veteran art curator, gallerist, and author, saw Basquiat paint
12
     in 1982 and has been familiar with the paintings since around 2015. He has seen all
13
     25 paintings.
14
           In his article for the OMA catalogue entitled The Mumford Collection: An
15
     Encyclopedia of Basquiat (pp. 91-95), Klein calls them “marvelous works,”
16
     “savagely autobiographical,” and possibly “a kind of encyclopedia of Basquiat at age
17
     twenty-two.”
18

19         “Large or small, there is an attention to detail and to a well-crafted
           surface in all the works in the collection. Basquiat was determined to
20         always include something of himself, whether it is the stick figure-like
           form that stands with an arrow in hand that surely is a self-portrait or the
21         image of a crown or the cluster of birds that, like pigeons, seem to be
           everywhere and is a reminder no doubt of home in New York City.”
22
          “. . . [Basquiat’s] great success in LA and the works he produced for
23        Mumford all are now part of a larger repertoire of highly sought after art
          produced by a young artist with great drive,   intensity and a vision of
24        himself as both hero and victim in late 20th century America. What this
          collection of twenty-five works represents is a model of a world lived by
25        an artist, a bright shooting star that appeared, gave light and quickly
          dimmed. Left behind is his message—in color and on numerous
26        fragments of cardboard—for all to now enjoy.”
   https://www.bvcg.org/oam-cat
27

28

                                                47
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 1                       (iii)   James Blanco
 2        James Blanco authored an insightful article entitled Basquiat’s Universe As
 3 Expressed In The Basquiat Venice Collection. In 15 pages replete with keen analysis

 4 and comparisons of the 25 paintings to those in the Catalogue Raisonné and other

 5 collections, Blanco takes the reader on a highly informative, compelling journey to

 6 significant themes, images, and expressions in Basquiat’s world.

 7        Blanco covers three-pointed crowns and coronation of heroes, baseball,
 8 childhood allusions, cowboys and Native Americans, monsters and science fiction,

 9 thrillers, influence of Picasso, pine trees, youthful memories and inspiration for his

10 paintings.

11
          “With these foregoing notable similarities, it is beyond dispute that these
12        authentic Collection paintings from 1982 mirror and are integral
          elements of Basquiat’s universe. Indeed, some are better conceived,
13        drawn, colored and executed than works in the Catalogue Raisonné. The
          Collection is a significant discovery for the art world that advances our
14        knowledge, and deepens our appreciation, of Basquiat’s singular
          genius.”
15 https://www.bvcg.org/oam-cat (emphasis added)

16                       (iv)    Stevenson Dunn
17        Stevenson Dunn also authored an article for the catalogue entitled Basquiat
18 Transcendent Reimagining America’s Most Influential Artist (pp. 89-96). Dunn is a

19 co-founder and co-owner of The Bishop Gallery in Brooklyn. In addition to curating

20 hundreds of art shows with emerging and established artists on six continents, Dunn

21 has co-curated seven solo Basquiat exhibitions in New York City, Miami, and

22 Switzerland. Dunn has spoken at Harvard University, U.S. Naval Academy, and

23 other universities.

24
          “This extraordinary collection of 25 paintings by Basquiat from 1982 is
25        a positive step in the direction of making Basquiat accessible to his
          multi-variegated constituencies. This unique collection offers us the
26        unprecedented opportunity to see Basquiat as Basquiat, at ease painting
          for himself and not affluent collectors or gallery owners. This is both
27        artist and canvas unleashed as we see in so many delightful ways how
          Basquiat was free to express his singular style and voice his thoughts
28        and feelings about a host of issues ranging from his blackness to his
          demons.”
                                                48
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 1 https://www.bvcg.org/oam-cat (emphasis added)

 2                       (v)   OMA Curatorial Staff
 3         The Catalogue also contained 25 entries for each of the paintings written by Dr.
 4 De Groft and his curatorial staff (including Hanson Mulford). From pages 98 to 151,

 5 they meticulously drew scores of probative comparisons between paintings in the

 6 Mumford Collection and Basquiat’s known body of work.

 7 https://www.bvcg.org/oam-cat In some of the paintings, their scholarship discovers

 8 aspects of common elements in Basquiat’s works such as the use of Hobo Code. A

 9 Sotheby’s write up on a Basquiat for sale highlights the importance of this finding in

10 the 25 Basquiats.

11
            “In Untitled, Basquiat recalls his street art past by incorporating a series
12          of symbols he came across in Henry Dreyfuss’s Symbol Sourcebook,
            especially the “hobo signs” which travelling vagabonds would use to
13          denote certain areas as safe or treacherous along the road. Many of the
            repeated sketches in the present work are copied from the ‘hobo signs’:
14          the cat symbolizes that there is a kind lady in residence, while the large
            circles warn that there is “nothing to be gained here.” Several of these
15          signs appear throughout his artistic practice, repeated like incantations in
            his drawings and larger paintings. This language of wanderers is blended
16          with other references to chemistry, anatomy and engineering,
            juxtaposing street smarts with academic thought, and providing insight
17          into Basquiat’s artistic process and interests.”
     https://www.sothebys.com/en/auctions/ecatalogue/2018/contemporary-art-day-
18
     auction-n09859/lot.182.html
19
              THE 25 BASQUIATS ARE DEMONSTRABLY AUTHENTIC
20
           By the time Barzman lied in the Affidavit and enabled the FBI to obtain a
21
     warrant to seize the 25 paintings, no fewer than six experts (plus the OMA curators)
22
     had expressed their written opinions that the 25 paintings were created by Basquiat,
23
     and several of them were among his finest works. Their conclusions were
24
     unconditional and explained without a hint that any were forgeries.
25
           This consensual validation of the 25 paintings is powerful, additional evidence
26
     that Barzman is not telling the truth. What no known expert opinion about all 25
27

28

                                                49
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 1 paintings furnished by the government, expressed in a written analysis, exists to

 2 counter this compelling proof ? None.

 3          In the Affidavit, FBI Agent Rivas recounts that “I have spoken with experts
 4 familiar with the works of Basquiat. All of these people have told me that in their

 5 opinion the works supposedly by Basquiat within the Mumford Collection are not

 6 authentic.” Exhibit 2, para. 35. None of these individuals is identified, and no

 7 written opinions are mentioned. Two persons—John Cheim and Annina Nosei—

 8 stated that they were not authentic Basquiats, but they saw only images of all 25

 9 paintings exhibited at OMA and not the originals, and they gave no reasons for their

10 conclusory opinions. Id., paras. 36 (b) & 36 (a), (b). That is all the FBI had when

11 applying for the warrant.

12          That there is opposing expert opinion hardly makes the 25 Basquiats fakes. If
13 one thing epitomizes the high-end, fine art world, it is debates over provenance and

14 authenticity. Fierce battles over attribution have been waged from time immemorial.

15          Despite favorable opinions from established experts such as museum curators,
16 gallerists, auction houses, and art historians, works by famed artists have later turned

17 out to be inauthentic, including: Picasso, Vermeer, Rembrandt, Modigliani, Gaugin,

18 Monet, Chagall; and Giacometti. https://www.insider.com/cases-of-faked-and-

19 forged-artwork-2019-1#a-portrait-of-william-shakespeare-turned-out-to-be-a-fake-10

20 Esteemed authorities frequently engage in intense disputes over the authenticity of

21 paintings by some of the world’s most iconic artists, including La Bella Principessa

22 and Salvador Mundi attributed to da Vinci28, Christ and the Disciples at Emmau

23 attributed to Vermeer, An Allegory attributed to Botticelli, and Portrait of Alexander

24

25  Salvador Mundi recently sold for $450.3 million despite many da Vinci scholars disputing its
     28

   authenticity as a work created by da Vinci. “While many critics later noted that the Salvator
26 Mundi has interesting passages, including the soft modeling of Jesus’ right hand and the finesse of
   his tight curls, they doubted that the work was entirely by Leonardo. The attribution continues to be
27 a subject of debate among scholars and critics. . . . The record-setting sale of an artwork with such
   serious defects is perhaps only one of the reasons that the Salvator Mundi is the latest artwork to be
28 called the ‘most controversial.’”https://www.britannica.com/story/why-is-the-salvator-mundi-
   called-the-worlds-most-controversial-painting
                                                      50
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 1 Mornauer attributed to Hans Holbein, among so many others.

 2 https://www.austinartistsmarket.com/famous-fakes-art-history/;

 3 https://en.wikipedia.org/wiki/List_of_artworks_with_contested_provenance;

 4         The estimable Metropolitan Museum of Art has admitted that a large number
 5 Rembrandts, once determined genuine by its renowned curators, are not authentic.

 6
            “The Metropolitan Museum possesses one of the most significant groups
 7          of paintings, drawings, and etchings by the master, his pupils, and
            imitators—about eighteen paintings ascribed by common consent to
 8          Rembrandt, and about twenty-five that were once thought to be by him
            but are now recognized as works by pupils, followers, or, in a few cases,
 9          later imitators, as well as a large number of authentic drawings and
            etchings along with some problematic examples in these media. We
10          have, therefore, limited the exhibition to the Museum's holdings. This
            has permitted us to focus more closely upon the works presented than
11          would have been possible with loans from other museums.”
     https://www.metmuseum.org/art/metpublications/Rembrandt_Not_Rembrandt_in_Th
12
     e_Metropolitan_Museum_of_Art_Aspects_of_Connoisseurship_Volumes_I_and_II
13
           My point here is a simple one: the fact that conflicting expert opinion exists
14
     over an artwork is not uncommon. In our case, given the collection of Basquiat
15
     experts who have weighed in with detailed, reasoned, and persuasive authenticity
16
     opinions, it is impossible to make the case that the 25 paintings are obvious fakes,
17
     and the Barzman Fakes provenance is rendered utterly improbable.
18
                     THE NEED FOR AN EVIDENTIARY HEARING
19
           Based on the foregoing summary of the evidence, I respectfully submit that an
20
     evidentiary hearing on the truthfulness of Barzman’s claims is warranted. As the
21
     Court well knows, crime victims have the “right to be reasonably heard at any public
22
     proceeding in the district court, including . . . sentencing.” 18 U.S.C. § 3771(a)(4).
23
     That right would be hollow if a crime victim could not present evidence to
24
     substantiate its statement where the issues are disputed.
25
           In our case, the relief sought by BVCG is in the nature of restitution. This is
26
     not restitution in terms of repayment of the money spent to purchase our paintings
27
     because BVCG did not purchase forged Basquiat paintings. We got what we thought
28

                                                51
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 1 we were buying—paintings from Mumford’s storage locker attributable to Basquiat.

 2 The restitution that we need and merit is restoration the paintings’ legitimacy as

 3 related to Barzman’s perjury.

 4        The process that we would suggest is the following:
 5        1.     At the sentencing hearing on August 18th, the Court would announce that
 6               it is deferring sentencing pending the receipt of evidence at a future
 7               hearing on the factual issues raised by BVCG’s statement.
 8        2.     The Court would set a date for the evidentiary hearing.
 9        3.     The Court would establish a schedule for exchange of information in
10               advance of the evidentiary hearing, including witness lists and exhibits.
11        4.     The Court would authorize BVCG to subpoena witnesses to testify at the
12               evidentiary hearing.
13        It is not our intention to gratuitously burden the Court with this added work in
14 a case that appeared to be sailing smoothly toward a negotiated resolution without a

15 trial. As I hope that I have shown the Court, this is not a routine guilty plea. What

16 Barzman is attempting to do here is to benefit himself at the grave detriment of

17 BVCG. A brief delay in finalizing his case will not prejudice him, but it will afford

18 due process to his victim. Cf. Taylor v. Hayes, 441 U.S. 488, 500 ("Due process

19 cannot be measured in minutes and hours or dollars and cents.”)

20                                      CONCLUSION
21        When Congress mandated that federal crime victims be afforded the right to
22 inform sentencing judges of the impact of the defendant’s conduct in physical,

23 emotional, and/or financial terms, that opportunity was supposed to be meaningful.

24 In this case, the Court has now been presented with seriously disputed facts about the

25 nature of Barzman’s crime and the truthfulness of his account under oath. This sharp

26 disagreement cannot be resolved without evidence. As this Statement reveals, BVCG
27 has a great deal of evidence to share with the Court.

28        Thank you very much.
                                               52
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 1 Dated: August 10, 2023                      Respectfully submitted,
 2
                                       Pierce O’Donnell
 3
                                  Co-manager
 4
                                  Basquiat Venice
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